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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 RICHARD GLEINN and PHYLLIS GLEINN,
 CARY TOONE, JOHN CELLI and MARIA                   Case No. 8:20-cv-01677-VMC-CPT
 CELLI, EVA MEIER, GEORGIA MURPHY,
 STEVEN J. RUBINSTEIN and TRACEY F.
 RUBINSTEIN, as trustees for THE
 RUBINSTEIN FAMILY LIVING
 TRUST DATED 6/25/2010, BERTRAM D.
 GREENBERG, as trustee for the Greenberg
 Family Trust, BRUCE R. AND GERALDINE                 JURY DEMANDED
 MARY HANNEN, ROBERT COBLEIGH,
 RORY O’NEAL AND MARCIA O’NEAL,
 and SEAN O’NEAL, as trustee for THE
 O’NEAL FAMILY TRUST DATED
 4/6/2004, individually and on behalf of others
 similarly situated,

                Plaintiffs,

        vs.

 PAUL WASSGREN, an individual; DLA
 PIPER (US), a limited liability partnership; and
 FOX ROTHSCHILD LLP, a limited liability
 partnership,

    Defendants.



                         AMENDED CLASS ACTION COMPLAINT

       Plaintiffs Richard Gleinn; Phyllis Gleinn; Cary Toone, John Celli; Maria Celli; Eva Meier;

Georgia Murphy; Steven J. Rubinstein and Tracey F. Rubinstein, as trustees for The Rubinstein

Family Living Trust Dated 6/25/2010; Bertram D. Greenberg, as trustee for the Greenberg

Family Trust; Bruce R. Hannen; Geraldine Mary Hannen; Robert Cobleigh; Rory O’Neal;

Marcia O’Neal; and Sean O’Neal, as trustee for The O’Neal Family Trust Dated 4/6/2004, as

amended (collectively, “Plaintiffs”) allege the following claims for their complaint against

Defendants Paul Wassgren (“Wassgren”), DLA Piper (US) (“DLA Piper”) and Fox

Rothschild LLP (“Fox

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Rothschild”) (collectively, “Defendants”). Plaintiffs allege the following on information and

belief, except as to those allegations that specifically pertain to the named Plaintiffs, which are

alleged on personal knowledge.

                                        INTRODUCTION

        1.     Plaintiffs bring this class action against the Defendants to obtain rescission,

damages, and/or other relief on behalf of themselves and hundreds of other investors who

collectively have lost millions of dollars in a Ponzi scheme orchestrated and perpetrated by the

principals of EquiAlt, a private real estate investment firm based in Florida. The Ponzi scheme,

which involved the unlawful sale of unregistered securities (“the EquiAlt Securities”) combined

with fraudulent misrepresentations, was carried out by the managers of EquiAlt acting in concert

with Wassgren, a partner at the Fox Rothschild law firm and, later, a partner at the DLA Piper law

firm.

        2.     EquiAlt and its promoters could not have perpetuated the massive fraudulent Ponzi

scheme without the active assistance and participation of their lawyers. This class action is brought

on behalf of the EquiAlt investors in (1) Florida, (2) California, (3) Arizona, (4) Colorado, and (5)

Nevada seeking to hold accountable Wassgren, Fox Rothschild, and DLA Piper—the lawyers who

knowingly aided and abetted the fraudulent scheme.

        3.     Over time, EquiAlt and Wassgren, through integrated offerings of unregistered

securities, raised more than $170 million from at least 1,100 investors located in various states,

including investors residing in Florida, California, Arizona, Colorado and Nevada. A large

percentage of the EquiAlt investors are elderly and many of them invested their life savings in the

unregistered EquiAlt Securities.




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       4.      On February 11, 2020, the Securities and Exchange Commission (“SEC”) in the

Middle District of Florida filed an enforcement action against EquiAlt, the EquiAlt investment

funds, and the EquiAlt promoters, Brian Davison (Chief Executive Officer) and Barry Rybicki

(Managing Director), seeking injunctive and other relief (the “SEC Action”). The complaint in the

SEC Action charges that those defendants operated EquiAlt as a Ponzi scheme and committed

multiple violations of the Federal securities laws:

       The Commission brings this emergency action to halt an ongoing fraud conducted
       by EquiAlt LLC, a private real estate investment company. Beginning in 2011, to
       the present, Defendants EquiAlt, Brian Davison and Barry Rybicki conducted a
       Ponzi scheme raising more than $170 million from over 1,000 investors
       nationwide, many of them elderly, through fraudulent unregistered securities
       offerings. Defendants promised investors that substantially all of their money
       would be used to purchase real estate in distressed markets in the United States
       and their investments would yield generous returns. Instead, EquiAlt, Davison and
       Rybicki misappropriated millions in investor funds for their own personal use and
       benefit.

Complaint for Injunctive and Other Relief and Demand for Jury Trial, ¶ 1, copy attached as Exhibit

A.

       5.      Three days after the SEC filed the SEC Action, EquiAlt was placed into a

liquidating receivership. On May 8, 2020, the EquiAlt Receiver (“The Receiver”) filed its first

quarterly report, a copy of which is attached as Exhibit B (“the Receiver’s Report”). The

Receiver’s Report includes extensive findings regarding the operations of the EquiAlt Ponzi

scheme. In particular, the Receiver reported:

       These [EquiAlt] investments were sold without registration with either state or
       federal regulatory agencies. The offerings were purportedly made pursuant to
       federal exemptions from registration under the provisions of the Securities Act of
       1933 provided in Regulation D. However, none of the first four [EquiAlt] Funds
       qualified for a Regulation D exemption or any other exemption from registration.
       The offerings appear to be one continuous fraudulent offering of unregistered
       securities. The lack of any exemption was clear to the perpetrators from the
       language contained in offering documents delivered to investors.
Ex. B at 14.


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                           PARTIES AND NON-PARTY ACTORS

                                       PLAINTIFFS

       6.      Plaintiffs Richard and Phyllis Gleinn are individuals and spouses, who reside and

are domiciled in Sumter County, Florida. The Gleinns are investors in EquiAlt Securities.

       7.      Plaintiff Cary Toone is an individual who resides and is domiciled in the State of

Arizona. Toone is an investor in EquiAlt Securities.

       8.      Plaintiffs John and Maria Celli are individuals and spouses who reside and are

domiciled in the State of Arizona. The Cellis are investors in EquiAlt Securities.

       9.      Plaintiff Steven J. and Tracey F. Rubinstein are individuals and spouses who reside

and are domiciled in the State of Arizona. The Rubinsteins are trustees of the Rubinstein Family

Living Trust Dated 6/25/2010, which invested in EquiAlt. The Rubinsteins, via their trust, are

investors in EquiAlt Securities.

       10.     Plaintiff Eva Meier is an individual who resides and is domiciled in San Diego,

California. Meier is an investor in EquiAlt Securities.

       11.     Plaintiff Georgia Murphy is an individual who resides and is domiciled in San

Diego, California. Meier is an investor in EquiAlt Securities.

       12.     Plaintiff Greenberg is the trustee of the Greenberg Family Trust, a revocable trust.

Plaintiff Bert Greenberg is, and was at all material times, who resides and is domiciled in Santa

Clara County, California. Greenberg is an investor in EquiAlt Securities.

       13.     Plaintiffs Bruce R. Hannen and Geraldine Mary Hannen are spouses and

individuals who reside and are domiciled in the state of Colorado. The Hannens are investors in

EquiAlt Securities.




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        14.     Plaintiffs Rory and Marcia O’Neal are individuals and spouses who reside and are

 domiciled in the State of Nevada. The O’Neals are investors in EquiAlt Securities.

        15.     Plaintiff Sean O’Neal is the trustee of the O’Neal Family Trust. Plaintiff Sean

 O’Neal is an individual who resides and is domiciled in the State of Nevada. O’Neal is an investor

 in EquiAlt Securities.

        16.     Plaintiff Robert Cobleigh is an individual who resides and is domiciled in the State

 of California. Cobleigh is an investor in EquiAlt Securities.

                                        DEFENDANTS

        17.     Defendant DLA Piper is a Maryland limited liability partnership operating as a law

 firm with its principal place of business at 6225 Smith Avenue, Baltimore, MD 21209. DLA Piper

 is thus a citizen of Maryland. DLA Piper does business in Florida at 200 South Biscayne

 Boulevard, Suite 2500, Miami, Florida.

        18.     Defendant Fox Rothschild is a Pennsylvania limited liability partnership operating

 as a law firm with its principal place of business located at 2000 Market St, 20th Floor,

 Philadelphia, PA, 19103. Fox Rothschild is thus a citizen of Pennsylvania. Fox Rothschild does

 business in Florida at One Biscayne Tower, 2 South Biscayne Blvd., Suite 2750, Miami Florida.

        19.     Fox Rothschild and DLA Piper served as EquiAlt’s legal counsel in connection

 with the offer and sale of the EquiAlt Securities

        20.     Defendant Wassgren is an individual who resides and is domiciled in the State of

 California. Wassgren is thus a citizen of California. Wassgren is an attorney who has been a partner

 at DLA Piper since 2017. Prior to his affiliation with DLA Piper, Wassgren was a partner at Fox

 Rothschild. At all times relevant to the allegations of this complaint, Wassgren was acting within




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 the course and scope of his employment with Fox Rothschild and his later employment with DLA

 Piper.

                               OTHER NON-PARTY ACTORS

          21.   Non-defendant EquiAlt LLC (“EquiAlt”) is a Nevada limited liability company that

 engaged in the offer and sale of the EquiAlt Securities to investors in several states, including

 Florida.

          22.   Non-defendant Brian Davison (“Davison”) is the former CEO of EquiAlt.

          23.   Non-defendant Barry Rybicki (Rybicki”) is a Managing Director of EquiAlt.

          24.   Non-defendants EquiAlt Fund LLC (“Fund 1”); EquiAlt Fund II, LLC (“Fund 2”),

 EquiAlt Fund III, LLC (“Fund 3”) and EA SIP LLC (“Fund 4”) (collectively, the “Funds”) are

 investment funds formed by Non-Defendants Davison and Rybicki to raise monies from investors

 through the sale of the EquiAlt Securities.

          25.   Non-Defendants EquiAlt, the Funds, Davison, and Rybicki are hereinafter referred

 to collectively as the “Non-Defendant Promoters.”

                                 JURISDICTION AND VENUE

          26.   This Court has subject matter jurisdiction pursuant to the Class Action Fairness Act

 of 2005 (“CAFA”) codified as 28 U.S.C. § 1332(d)(2). The matter in controversy exceeds

 $5,000,000, in the aggregate, exclusive of interest and costs; each alleged class will have 100 or

 more members, and minimal diversity exists.

          27.   This Court has personal jurisdiction over each Defendant because each Defendant

 was involved in the marketing and sale of the EquiAlt Securities issued from EquiAlt headquarters

 in Tampa, Florida. Defendants have purposefully availed themselves of the laws of the State of

 Florida and have established minimum contacts with the State of Florida. The Court also has



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 personal jurisdiction under Fla. Stat. §§ 48.193(1)(a)(1) over the Defendants because they operate,

 conduct, engage in, or carrying on a business or business venture in this state or having an office

 or agency in this state. Both Fox Rothschild and DLA Piper transact substantial business in Florida,

 including from a DLA office in Miami, Florida, and Fox Rothschild offices in Miami and West

 Palm Beach, Florida. Defendants market, promote, distribute, and render their services in Florida,

 causing Defendants to incur both obligations and liabilities in Florida. Further, the Court has

 personal jurisdiction over Wassgren under Fla. Stat. § 48.193(1)(a)(2).

         28.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because a

 substantial part of the events or omissions giving rise to the claim occurred in this judicial district.

 In addition, the SEC Action was filed in this district.

                                    GENERAL ALLEGATIONS

         A.      Background of the EquiAlt Ponzi Scheme

         29.     EquiAlt was formed in 2011 by its Chief Executive Officer Davison and its

 Managing Director Rybicki (collectively, the “Managers”). EquiAlt represented to its investors in

 offering documents that substantially all of their invested funds would be used to purchase,

 rehabilitate and sell for profit single-family properties located in distressed markets throughout the

 United States, thereby generating generous returns of 8–12% for the investors. Instead, EquiAlt,

 Davison, and Rybicki with the active assistance of Defendants perpetrated an illegal Ponzi scheme

 by which they fraudulently misappropriated millions of dollars for their own personal benefit from

 the offer and sale of unregistered securities in violation of the federal and state securities laws,

 through a network of unlicensed sales agents located in Florida, California, Arizona, Colorado,

 and Nevada, and other states.

         30.     According to the Declaration of Mark Dee filed in the SEC action, EquiAlt

 morphed into a Ponzi scheme soon after its inception in 2011. A copy of the Declaration of Mark

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 Dee (the “Dee Declaration”) is attached as Exhibit C. Mr. Dee, a Senior Accountant for the SEC,

 attested that Davison and Rybicki misappropriated millions of dollars for their own personal

 benefit, misused investor funds for purposes inconsistent with the Private Placement

 Memorandums used to offer and sell the EquiAlt Securities (“PPMS”), and saddled the Funds with

 financial losses stemming from excessive fees, bonuses and payments to insiders and affiliated

 entities. These excessive misappropriated fees rendered EquiAlt insolvent and unable to pay the

 amounts due to investors other than by raising new investor funds as part of the resulting Ponzi

 scheme. In short order the proceeds received by the Funds from property sales and loan receipts

 were inadequate to pay the high payments due to investors under the unregistered EquiAlt

 Securities, which obligated the Funds to pay interest to investors at rates ranging from 8% to 12%.

 Consequently, EquiAlt systematically diverted monies from one Fund to another and used

 investment proceeds raised from new investors to make the interest payments due to existing

 investors.

        31.     EquiAlt conducted its business affairs and perpetrated an illegal and fraudulent

 Ponzi scheme through a series of limited liability companies (“LLCs”) controlled by Davison and

 Rybicki. EquiAlt itself was formed as a Nevada LLC to manage a series of real estate investment

 funds that issued and sold to investors unregistered securities styled as fixed-interest debentures.

 The unregistered EquiAlt Securities were issued by the Funds. Another LLC operated by Rybicki,

 BR Support Services LLC (“BR Services”), was formed in Arizona to recruit, oversee and pay

 commissions to the unlicensed sales agents who marketed and sold the unregistered EquiAlt

 Securities to unsuspecting investors.

        32.     Shortly after EquiAlt was formed in 2011, Davison and Rybicki began to

 aggressively promote sales of the EquiAlt Securities issued by Fund 1 through a network of



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 unlicensed sales agents located in Florida, California, Arizona, Nevada, and other states. Davison

 managed EquiAlt’s financing and day-to-day operations, including the acquisition and

 development of properties owned by the Funds. Rybicki solicited and oversaw the activities of the

 unlicensed sales agents, communicated with investors and raised monies from investors.

        33.     Over time, Rybicki recruited approximately 19 sales agents through BR Services.

 Participating sales agents would submit to BR Services certain documentation and the investors’

 funds, which BR Services would transmit to EquiAlt. When the investors’ funds were received,

 EquiAlt would disburse funds to BR Service equal to 12% of the invested amounts and BR

 Services in turn would pay commissions to the agents equal to 6% or more of the invested amounts.

 For example, the following chart from the Receiver’s Report lists sales commissions paid to the

 sales agents recruited by Rybicki:

        Sales Agent Name                                           Total Paid
         Agents Insurance Sales / Barry Wilken                              $ (240,159.33)
         American Financial Security / Ron Stevenson /                      (1,712,750.95)
         Barbara Stevenson
         Barry Neal                                                           (119,037.20)
         Ben Mohr                                                             (113,578.00)
         Bobby Armijo / Joseph Financial Inc.                               (1,100,042.65)
         Dale Tenhulzen / Live Wealthy Institute                            (1,484,531.29)
         Elliot Financial Group / Todd Elliot                                 (805,662.68)
         Family Tree Estate Planning / Jason Wooten                         (3,749,783.61)
         GIA, LLC / Edgar Lozano                                              (278,807.24)
         Greg Talbot                                                          (260,941.89)
         J. Prickett Agency / Joe Prickett                                    (187,374.57)
         James Gray / Seek Insurance Services                                 (405,286.75)
         John Friedrichsen                                                    (327,681.69)
         Lifeline Innovations / John Marques                                  (822,318.06)


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         Patrick Runninger                                                      (293,599.53)
         Sterling Group                                                         (478,562.12)
         The Bertucci Group LLC / Leonardo LLC / Leonardo                       (139,950.00)
         Bertucci
         Tony Spooner / Rokay Unlimited, LLC                                    (622,169.05)
         Wellington Financial, LLC / Jason Jodway                                (48,000.00)
                               TOTAL                                       $ (13,190,236.61)



 As the foregoing chart shows, the EquiAlt sales agents collected more than $13 million in

 commissions from sales of the EquiAlt Securities to investors.

        34.     Rybicki selected agents who had existing clients with whom they had pre-existing

 confidential fiduciary relationships of trust and confidence. The sales agents, who were largely

 unlicensed insurance producers and financial advisors, provided investment advice concerning the

 EquiAlt Securities, counseling their clients that the debentures were conservative, safe investments

 providing healthy investment returns with little or no investment risk. The sales agents purported

 to conduct sufficient analysis to confirm that prospective investors possessed the knowledge and

 expertise in financial and business matters and the capability to evaluate the merits and risks

 associated with the EquiAlt Securities. Rather than doing so, however, the EquiAlt sales agents

 improperly endorsed the EquiAlt Securities as low risk investments and affirmatively encouraged

 and exhorted their largely unsophisticated clients to invest their life savings and retirement assets

 in the risky unregistered securities.

        35.     A majority of the investors who purchased the unregistered securities issued by the

 Funds were non-accredited, meaning that their net worth was less than $1 million, their individual

 income was less than $200,000 in each of the two most recent years (or $300,000 in joint income

 with their spouse), or they failed to meet the other requirements of 17 CFR § 230.501. In addition,


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 to be accredited, purchasers must have sufficient knowledge and experience in financial and

 business matters to make them capable of evaluating the merits and risks of the prospective

 investment. Under Regulation D, the safe harbor exemption from registration is forfeited if the

 issuer sells its unregistered securities to more than 35 non-accredited purchasers. When the

 EquiAlt Securities offerings by the Funds are aggregated, it is clear that EquiAlt had more than 35

 non-accredited purchasers because the Form D for the Fund 1 offering discloses 31 non-accredited

 purchasers and the Form D for Fund II discloses 10 non-accredited purchasers, for a total of at

 least 41 non-accredited purchasers of EquiAlt Securities.

           B.     Defendants’ Active Participation and Assistance in the Offer and Sale of the
                  Unregistered EquiAlt Securities

           36.    As a partner at Fox Rothschild and later as a partner at DLA Piper, Wassgren served

 as legal counsel for EquiAlt who advised and assisted EquiAlt on numerous matters, including

 compliance with applicable Federal and State securities laws. In a recent podcast, Wassgren

 described EquiAlt as “a long-time client of mine.” 1 DLA Piper’s website notes that Wassgren

 represented EquiAlt in connection with “[f]und and REIT formations, including a series of private

 [securities] offerings.” 2 According to the DLA Piper website, Wassgren “practices at the

 intersection of corporate law, real estate and securities.” 3 Despite his youthful age, therefore,

 Wassgren is a highly sophisticated securities lawyer, well-versed in the stringent federal and state

 law provisions regulating the offer and sale of securities to investors in California, Arizona,

 Florida, Colorado and Nevada including in particular the prohibitions against public offerings of

 unqualified or unregistered securities through unlicensed brokers and sales agents.


 1
  https://podcasts.apple.com/kw/podcast/paul-wassgren-from-youngest-bond-trader-ever-to-
 oz/id1460212490?i=1000438104456 (last visited June 15, 2020)
 2
     https://www.dlapiper.com/en/us/people/w/wassgren-paul/ (last visited June 15, 2020).
 3
     Id.

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          37.     Wassgren represented EquiAlt for several years as a partner at Fox Rothschild.

 Wassgren brought EquiAlt with him as a client when he joined DLA Piper as a partner in 2017.

 Wassgren had primary responsibility for the EquiAlt engagements of Fox Rothschild and DLA

 Piper. As recently as 2018, and after defending the Arizona investigation into EquiAlt’s operations

 described below, Wassgren led a team of DLA Piper attorneys assisting EquiAlt in the formation

 and offering of $500 million fund to purchase and develop properties within Qualified Opportunity

 Zones.

          38.     Over the years, Fox Rothschild and DLA Piper collected hundreds of thousands of

 dollars in fees from EquiAlt and its affiliates from EquiAlt and the Funds.

          39.     Wassgren was deeply involved with EquiAlt and the Funds from their very

 inception. In his deposition taken in the SEC investigation leading up to the SEC Action, EquiAlt

 CEO Davison described Wassgren’s instrumental role as architect of the EquiAlt business

 organizations:

          Q:      The second full paragraph on page 3 states … “As the CEO and founder,
                  Mr. Davison … actively works with EquiAlt outside legal and financial
                  advisors to develop and implement strategic ling-term planning for the
                  company….” Is that an accurate description of your responsibilities at
                  EquiAlt?

                                                      ***

          A:      … I just would like to clarify that my definition of financial advisors is
                  directly related to my job position, which would be Denver, a staff CPA
                  with great experience, my legal counsel, Paul Wassgren, I deal with quite
                  extensively when the companies interact with each other that he’s built
                  for me, to make sure I’m good on that. But other than that, I would say that
                  paragraph is generally accurate, yes.

 Deposition of Brian Davison, excerpt attached as Exhibit D, at 21 (emphasis added).

          40.     While a partner at Fox Rothschild and later, as a partner at DLA Piper, Wassgren

 prepared and filed with the Nevada Secretary of State the Articles of Organization for each of the


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 Funds, listing himself as the “Organizer” and “Registered Agent” for the Funds. Wassgren also

 drafted the PPMs used by EquiAlt to solicit sales of its unregistered and nonqualified securities.

 As Davison testified to the SEC:

        Q:      And who developed the concept of raising money for these investment
                funds through private placement memorandums?

        A:      That’s me.

                                                 ***

        Q:      Okay. So who contacted the law firm to help generate those private
                placement memorandums?

        A:      I do.

        Q:      Okay. It was you?

        A:      It was me.

                                                 ***

        Q:      And which law firm, and which attorney, and when?

        A:      So the individual is Paul Wassgren.

                                                 ***

        Q:      Fox Rothschild? Does that sound familiar?

        A:      He was at Fox Rothschild.

        Q:      Which firm is he at now?

        A:      I believe he’s with DLA Piper.

 Ex. D at 26–27. Copies of PPMs drafted by Wassgren for each of the Funds are attached as

 Composite Exhibit E.

        41.     Indeed, Wassgren drafted the EquiAlt PPMs from the very beginning of its

 existence. As Davison testified in his deposition that “[g]enerally speaking, on a transactional

 basis, I created documents like these [PPMs] with counsel about the time period of 2000—I’m

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 sorry—2011, private placement memorandum generally.” Pl. Mot. for TRO, Exh. 4, Davison Tr.

 at 92. Exhibit D at 92.

        42.     Wassgren also drafted the Subscription Agreements, the EquiAlt Securities, and the

 Prospective Purchaser Questionnaires (“Investor Questionnaires”) used to attest that the investors

 were “accredited,” a requirement for the securities to be exempt from registration as a “private

 offering” under Rule 506(b) of SEC Regulation D (“Regulation D”). An exemplar Investor

 Questionnaire is attached as Exhibit F. As drafted, the Investor Questionnaires were addressed to

 Fox Rothschild or DLA Piper, such that prospective investor was directed to complete the

 questionnaire and send the signed document to the Defendants’ offices. Through their receipt of

 such Investor Questionnaires, and otherwise, Defendants kept themselves informed of the number

 and level of financial sophistication of the prospective investors to whom the EquiAlt Securities

 were being offered and sold.

        43.     The PPMs and other offering documents prepared by Wassgren contained

 numerous false and misleading statements and concealed or omitted material information about

 the use of investors’ funds and the risks associated with the Funds. Among other material

 misrepresentations, the PPMs prepared by Wassgren:

        ● Falsely stated that “[t]his Offering is being made pursuant to the private offering
          exemption of Section 4(2) of the [Securities] Act and/or Regulation D
          promulgated under the Act;”

        ● Falsely stated that “[t]his Offering is also being made in strict compliance with
          the applicable state securities laws;”

        ● Falsely stated that “[u]nder no circumstances will the Company admit more
          than thirty-five (35) non-accredited Investors as computed under Rule 501 of
          Regulation D promulgated under the [Securities] Act;”

        ● Falsely stated that “[t]he Company may utilize the services of one or more
          registered broker/dealers” to sell the unregistered securities;

        ● Falsely overstated the percentage of investor funds that would be used to invest


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              in properties;

        ● Misleadingly omitted to disclose that millions of dollars would be used to pay
          undisclosed fees and bonuses to EquiAlt and its principals;

        ● Misleadingly omitted to disclose that EquiAlt would pocket “discount fees”
          rather than passing on to the Funds purported savings from listed sale prices;
          and

        ● Misleadingly omitted to disclose that monies would be transferred from one
          Fund to another to pay interest due to investors and failed to adequately disclose
          that commissions would be paid to unlicensed sales agents.

        ● Misleadingly omitted to disclose that Davison and Rybicki had both filed
          bankruptcy proceedings during the years prior to the formation of EquiAlt

        44.      Although the PPMs made partial disclosures that Davison and Rybicki would be

 compensated through management fees and undefined “substantial compensation and benefits”

 these disclosures were misleading half-truths because the PPMs also assured the prospective

 investors that the Company “does not anticipate significant operating costs” and the projected

 sources and uses of cash failed to disclose the exorbitant amounts misappropriated and diverted by

 Davison and Rybicki. More importantly, the PPMs failed to disclose that, as Davison and Rybicki

 knew and intended, the exorbitant amounts that they stripped from the EquiAlt Funds quickly

 rendered the funds insolvent and incapable of paying the amounts due to investors other than with

 funds raised from new investors through the Ponzi platform.

        45.      In addition to drafting and providing information for the PPMs, Wassgren and the

 law firm Defendants consented to the inclusion of their names in the PPMs and the associated

 offering materials incorporated in the PPMs. As just noted, while Wassgren was a partner at Fox

 Rothschild, the Investor Questionnaires attached as exhibits to the PPMs named the law firm and

 directed the investors to mail the completed questionnaires to the law firm’s offices in Nevada.

 When Wassgren moved to DLA Piper in 2017, the Investor Questionnaires were changed to name

 DLA Piper and set forth the new law firm’s mailing address in California. The PPMs also stated


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 that: (a) the securities were offered “subject to … [the] approval of counsel;” (b) the fund’s

 “counsel will review certain documents” used to effectuate the real estate transactions by which

 the Funds intended to acquire properties; (c) the Fund “will rely on the opinion of … its legal

 counsel with respect to its classification as a limited liability company for Federal income tax

 purposes;” and (d) the securities could not be transferred unless, among other things, “in the

 opinion of counsel to the company, registration is not required….” These statements concerning

 the legal advice to be obtained from EquiAlt’s counsel all referred to Wassgren and the law firm

 Defendants.

         46.     Wassgren and the law firm Defendants furthermore prepared false and misleading

 marketing materials distributed to prospective investors and knowingly allowed EquiAlt to use

 their names and professional reputations in the marketing materials. While Wassgren was a partner

 at Fox Rothschild, EquiAlt marketing brochures (an example of which is attached as Exhibit G)

 prominently featured Wassgren and Fox Rothschild as the investment firm’s legal counsel, thereby

 providing comfort to prospective investors that EquiAlt was a legitimate, financially sound

 investment firm that complied with all applicable regulatory and legal requirements. When

 Wassgren subsequently became a partner at DLA Piper, the EquiAlt marketing brochure (an

 example of which is attached as Exhibit H) was changed to reflect that Wassgren and DLA Piper

 served as legal counsel for EquiAlt. Both EquiAlt marketing brochures invited prospective

 investors to contact Defendants directly, identifying them as “independent” professionals who

 offered to give the investors “insight into the fund and its activities.” Id.4



 4
  DLA Piper through numerous press releases also touted to the public the law firm’s involvement
 and major role in assisting EquiAlt, but has since removed these specific website announcements:
         DLA Piper advises EquiAlt on the formation and offering of                     its
         ...www.dlapiper.com › news › 2018/11 › dla-piper-advises-EquiAlt-on-q...

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        47.     Wassgren knew the representations in the PPMs that the EquiAlt Securities were

 exempt from registration under the federal securities laws pursuant to Regulation D and were made

 “in strict compliance with the applicable state securities laws” were false and misleading. Among

 other things, Wassgren knew that: (a) EquiAlt intended to sell and did in fact sell its securities to

 more than 35 non-accredited investors through the Funds, which were all part of a single integrated

 offering; (b) EquiAlt engaged directly and through its agents in general solicitations and

 advertising to market its unregistered securities; (c) EquiAlt made commission payments to its

 unlicensed sales agents not disclosed in its SEC filings claiming the Reg D exemption from

 registration; and (d) EquiAlt would and did fail to provide investors with information and

 disclosures required by Regulation D, including audited financial statements.




        Nov 15, 2018 – DLA Piper represented EquiAlt LLC, in the formation and offering
        of their recently formed EquiAlt Qualified Opportunity Zone Fund, LP that ...


        Paul Wassgren | People | DLA Piper Global Law Firmwww.dlapiper.com › people
        › wassgren-paul
        DLA Piper represented EquiAlt LLC, in the formation and offering of their recently
        formed EquiAlt Qualified Opportunity Zone Fund, LP that purchases and ...


        https://www.leopardsolutions.com/hotspot/ListSummaryDetails.aspx?categoryid=
        0&month=11&year=2018
        DLA Piper advises EquiAlt on the formation and offering of its US$500 million
        Qualified Opportunity Zone fund


        DLA Piper - @DLA_Piper Twitter Profile | Twipuwww.twipu.com › DLA_piper
        Explore @DLA_Piper Twitter Profile | DLA Piper, a global law firm operating
        through ... We advised EquiAlt on the formation and offering of its US$500 million
        ...




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         48.    Aware that EquiAlt failed to qualify for its claimed registration exemption yet was

 offering and selling the unregistered securities using unlicensed sales agents, Wassgren knew that

 his clients were engaged in multiple ongoing violations of the applicable federal and state

 securities laws.

         49.    Wassgren also actively assisted EquiAlt’s ongoing securities law violations by

 developing a stratagem to mischaracterize the sales agents as mere “Consultants” being paid

 “finders fees” as a subterfuge to facilitate the offer and sale of the EquiAlt Securities by unlicensed

 dealers. In furtherance of this unlawful contrivance, Wassgren drafted a so-called “Finder’s Fee

 Agreement” between the applicable investment fund and the unlicensed sales agents, a copy of

 which is attached as Exhibit I. The Finder’s Fee Agreement drafted by Wassgren acknowledged

 that the fund would “compensate” the sales agents for “introducing the Company [fund] to

 Investors who may be interested in considering a potential investment in the Company.” Id. at 1.

 Although Wassgren was-well aware that the sales agents would be providing investment advice to

 their current and prospective clients (to whom they owed fiduciary duties), Wassgren drafted the

 Finder’s Fee Agreement to falsely represent that each agent would not “make representations

 concerning the terms, conditions or provision of any possible investment” in the EquiAlt Funds.

 Id. at 2.

         50.    Recognizing that the contemplated activities of the EquiAlt sales agents

 contravened both Federal and State securities laws, Wassgren drafted the Finder’s Fee Agreement

 to provide for indemnification of both the EquiAlt fund and the agent against losses incurred by

 either of them arising from the “Consultant’s failure to register as a broker-dealer with the

 Securities and Exchange Act of 1934, or as required by applicable state law or Consultant’s

 violation of state or federal securities laws and regulations.” Id. at 3. Acknowledging Wassgren’s



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 contemplated continued participation in the ongoing securities law violations, the Finder’s Fee

 Agreement provided that any notices required under the agreement, including notice of claims

 arising from securities laws violations, were to be provided to Wassgren himself on behalf of the

 EquiAlt Funds. Id. at 5.

        51.     Rather than disclosing the ongoing securities violations or withdrawing from

 further representation (as required by the applicable ethical rules), Wassgren instead assisted

 EquiAlt in its attempt to conceal those violations. To that end, as alleged more fully below,

 Wassgren orchestrated the creation of multiple purportedly separate investment funds in an attempt

 to conceal the number of unaccredited investors to whom the unregistered securities were sold.

 Wassgren also assisted in the preparation of materially false SEC filings which—to conceal

 EquiAlt’s ongoing securities law violations—intentionally understated the number of non-

 accredited EquiAlt Fund investors and misrepresented the nature and amount of commissions paid

 to the unlicensed sales agents.

        52.     The all-encompassing involvement of Wassgren and the law firm Defendants in the

 affairs and business operations of EquiAlt was recently described by Rybicki in filings with this

 Court. As Rybicki has avowed, attorney Wassgren provided advice and input on virtually all

 aspects of EquiAlt’s operations, including preparation of the false and misleading PPMs and

 marketing materials used to induce investors into purchasing the EquiAlt securities, compliance

 with the applicable securities laws and the payment of commissions to unlicensed sales agents:


        Mr. Davison and Mr. Wassgren … drafted and had authority over the PPMs.
        EquiAlt retained the services of Paul Wassgren in virtually all aspects of EquiAlt’s
        business operations and entrusted him with ensuring EquiAlt complied with
        securities laws … Mr. Wassgren prepared EquiAlt’s marketing materials to
        investors aware of the purpose for which these materials would be disseminated
        and used, vetted and participated in approving EquiAlt’s PPMs; and provided legal
        advice to EquiAlt as to the legality of paying commissions to unregistered sales
        agents for the sale of debentures. … Mr. Rybicki directed sales agents to speak

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        with Mr. Wassgren when they had questions regarding the legal requirements for
        selling EquiAlt Funds.

 [ECF No. 152 at 19–20]

        53.     In sum, Wassgren (a) was knowing participant in the ongoing illegal sales of

 securities by the Non-Defendant Promoters, (b) played a substantial role in inducing the illegal

 sales, and (c) lent substantial assistance to an ongoing scheme to defraud. Wassgren knew or

 should have known that under the standards of the legal profession, “[A] lawyer has an obligation

 not knowingly to participate in any violation by the client of the securities laws.” ABA Statement

 of Policy on Lawyer Responses to Auditor Requests for Information. 5 In these circumstances,

 Wassgren was professionally obligated to terminate its representation to avoid covering-up and

 assisting the ongoing (and past) fraud perpetrated by the Non-Defendant Promoters. He did not do

 so.

        54.     Not only that, but Wassgren’s actions in assistance to and in concert with the Non-

 Defendant Promoters went far beyond his role as legal counsel to EquiAlt. Wassgren even went

 so far as to affirmatively provide legal advice to potential and existing sales agents, falsely

 assuring them that EquiAlt complied with all applicable securities laws and that the unlicensed

 agents could lawfully sell the EquiAlt unregistered and unqualified securities.

        55.     Wassgren spoke directly with many of the unlicensed broker-dealer sales agents to

 provide them with false assurances that EquiAlt complied with all securities laws and that the

 agents could lawfully offer and sell the EquiAlt Securities, even though they were not registered.




 5
   See also In re Am. Cont’l Corp./Lincoln Sav. and Loan Secur. Litig., 794 F. Supp. 1424, 1452
 (D. Ariz. 1992) (“An attorney may not continue to provide services to corporate clients when the
 attorney knows the client is engaged in a course of conduct designed to deceive others, and where
 it is obvious that the attorney’s compliant legal services may be a substantial factor in permitting
 the deceit to continue.”).

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 For example, attorney Wassgren told sales agent Dale Tenhulzen that Wassgren “wrote the PPM”

 and explained how Tenhulzen would be compensated for selling EquiAlt Securities. Attorney

 Wassgren advised Tenhulzen that he did not need a license to legally sell and get paid for the sale

 of the EquiAlt Securities. [ECF No. 152-2 at 27-30]

        56.     Another EquiAlt sales agent, John Friedrichsen, received the same advice from

 attorney Wassgren. When he first began selling the EquiAlt Securities, Rybicki told him that

 Wassgren had advised that the sales agents did not need to be registered to sell EquiAlt Funds.

 [ECF No.152-4, ¶ 8]. After Davison and Wassgren created EquiAlt’s REIT Fund, Mr. Friedrichsen

 wondered whether he could receive commissions for selling the REIT Fund and, at Mr. Rybicki’s

 suggestion, called Mr. Wassgren to inquire. Id., ¶ 10. During the call, Mr. Wassgren, who “knew

 I [Friedrichsen] was a sales agent for EquiAlt Funds… explained that financial agents needed to

 acquire a Series 7 license to sell debentures for the REIT Fund.” Id., ¶ 11.

        57.     Yet Attorney Wassgren knew the EquiAlt Securities did not qualify for a public

 offering exemption under federal or state law. Wassgren also knew that the sales agents selling the

 EquiAlt Securities were not registered as dealers or salespersons under federal and state securities

 laws. Nonetheless, in furtherance of the ongoing Ponzi scheme, Wassgren personally,

 systematically, affirmatively, and falsely represented to the sales agents that they could lawfully

 sell the unregistered EquiAlt Securities—never disclosing that EquiAlt and the agents were

 violating the federal and state securities laws by selling unregistered securities and by selling

 investments for EquiAlt without registering as a securities dealer.

        58.     In addition to actively assisting EquiAlt and the Non-Defendant Promoters by

 drafting false offering documents, preparing organizational documents for the Funds and for other

 entities in which properties were held, advising and assisting EquiAlt’s efforts to avoid registration



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 under the applicable securities laws and providing false assurances to the sales agents, CEO

 Davison has testified that Wassgren actively assisted him in developing and implementing

 strategic long-term planning for EquiAlt, again assistance beyond the scope of the routine rendition

 of legal services.

         C.      The EquiAlt Securities Are Non-Exempt Unregistered/Unqualified Securities

         59.     The EquiAlt Securities are securities within the meaning of the Securities Act of

 1933 (“the Federal Act”), which unless exempt must be registered before being offered or sold in

 the United States. 15 U.S.C. §77e.

         60.     The EquiAlt Securities are likewise securities under the Florida Securities and

 Investor Protection Act (the “FSIPA”), which unless exempt must be qualified before being

 offered or sold in Florida unless they are exempt from registration under the Federal Act. § 517.07,

 Fla. Stat.

         61.     The EquiAlt Securities are likewise securities under the California Securities Law

 of 1968 (“CSL”), which unless exempt must be qualified before being offered or sold in California

 unless they are exempt from registration under the Federal Act. Cal. Corp. Code §25102(o).

         62.     The EquiAlt Securities are likewise securities under the Arizona Securities Act

 (“ASA”), which unless exempt must be qualified before being offered or sold in Arizona unless

 they are exempt from registration under the Federal Act. § 44-1841, Ariz. Stat.

         63.     The EquiAlt Securities are likewise securities under the Colorado Securities Act

 (“CSA”), which unless exempt must be qualified before being offered or sold in Colorado unless

 they are exempt from registration under the Federal Act. C.R.S. § 11-51-201.

         64.     The EquiAlt Securities are likewise securities under the Nevada Securities Act

 (“NSA”), which unless exempt must be qualified before being offered or sold in Nevada unless

 they are exempt from registration under the Federal Act. NRS 90.295 and 90.460.

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        65.       Defendants prepared the PPMs for the EquiAlt Securities, which acknowledged

 them as “securities,” and which described the raised funds as being used to purchase, improve,

 lease and sell single-family properties in distressed real estate markets in the U.S. and to participate

 in “opportunistic loan transactions” in the United States.

        66.       Recognizing that the EquiAlt Securities are securities within the meaning of the

 Federal Act and the FISPA, the CSL, the ASA, and the NSA, Defendants provided legal advice

 to, drafted documents for, and otherwise actively assisted EquiAlt in falsely claiming an exemption

 from registration as a “private offering” under Rule 506(b) of SEC Regulation D (“Rule 506”).

        67.       Rule 506(b) is considered a “safe harbor” under Section 4(a)(2) of the Federal Act.

 It provides objective standards that a company can rely on to meet the requirements of the Section

 4(a)(2) exemption. Companies conducting an offering that qualifies under Rule 506(b) can raise

 an unlimited amount of money and can sell securities to an unlimited number of accredited

 investors.

        68.       An offering under Rule 506(b) is, however, subject to the following requirements:

              ▪   no general solicitation or advertising to market the securities may be
                  conducted; and
              ▪   securities may not be sold to more than 35 non-accredited investors (all non-
                  accredited investors, either alone or with a purchaser representative, must
                  meet the legal standard of having sufficient knowledge and experience in
                  financial and business matters to be capable of evaluating the merits and
                  risks of the prospective investment).
 Furthermore, as a general condition to a Rule 506(b) exemption, all non-accredited investors must

 be given specific information relating to the offeror’s financial condition. 17 C.F.R. § 230.502(b).

        69.       Defendants advised EquiAlt with respect to the required filings with the SEC to

 claim an exemption from registration under Regulation D. Defendants therefore had actual

 knowledge of the requirements EquiAlt was required to follow in order to exempt the offer and



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 sale of the EquiAlt Securities from the registration requirements under the Federal and State

 securities statutes.

         70.     However, through their active involvement in the documentation, offering and sales

 of the EquiAlt Securities, their interactions with EquiAlt and its principals and its interactions with

 the EquiAlt sales agents and securities regulators, Defendants knew that the EquiAlt Securities

 were in fact offered and sold in non-compliance with the requirements of Regulation D.

         71.     First, Defendants knew that investments in the EquiAlt Securities were being

 solicited through general solicitations and advertisements, including: (a) newspaper ads such as in

 the attached Exhibit J, and (b) group presentations such as the slideshow attached as Exhibit K ;

 and (c) sales brochures such as the attached Exhibits G and H. Defendants also knew that in-house

 employees at EquiAlt were soliciting investments from the general public through cold-calling

 campaigns, social media, websites, in-person meetings, and info-dinners.

         72.     Second, Defendants drafted the subscription materials to be completed by potential

 investors to confirm the accredited or non-accredited status of the potential investors. Defendants

 drafted those subscription materials for completion and return directly to their offices for review

 by Wassgren, and thereby received direct reports of the number, age, geographic location, and

 financial sophistication of the investors to whom the EquiAlt Securities were being offered and

 sold. Defendants thus knew that many of the investors had indicated they were unaccredited or

 unsophisticated in that they lacked knowledge and expertise in financial or business matters, were

 not capable of evaluating the merits and risks of the investment, and were not otherwise capable

 of bearing the economic risks of the investment. Defendants also knew that far more than the

 maximum permitted number of the unaccredited investors had been sold the EquiAlt Securities, a

 prohibition which they attempted to circumvent through the creation of purportedly distinct Funds.



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        73.      Third, Defendants knew that EquiAlt has not satisfied the general condition that the

 offerors supply all non-accredited investors with the EquiAlt financial reports and information

 required under Rule 502(b).

        74.      Fourth, Defendants aware of, and knowingly permitted, EquiAlt’s promotion of

 Wassgren, DLA Piper, and Fox Rothschild as legal counsel who could vouch for EquiAlt and the

 legality of the unregistered offer and sale of EquiAlt Securities. For example, EquiAlt’s general

 solicitation materials not only identified DLA Piper or Fox Rothschild as its attorney in connection

 with EquiAlt’s offering, but furthermore supplied the address and phone number for their

 California offices, and explicitly told investors that Defendants would vouch for the legality of

 EquiAlt’s securities offering and its use of the funds raised through it:

        ● Can I contact EquiAlt’s CPA or Attorney? Absolutely, both are independent
          from EquiAlt LLC and can give you some insight into the fund and its activities.

 Ex. G; Ex. H.

        75.      Defendants continued to permit EquiAlt to promote Wassgren and DLA Piper as

 “independent” legal counsel who investors could contact to obtain information about the EquiAlt

 Funds and their activities as the Ponzi scheme unfolded, even during the SEC investigation in

 2019. Exhibit L.

        76.      Defendants thus agreed to actively assist in the offer and sale of the EquiAlt

 Securities in order to generate fees and enhance their professional reputation. Indeed, DLA Piper

 specifically touted its relationship with EquiAlt in other online posts, press releases, and tweets.

 See supra, ¶ 41 n.4 (collectively, the “DLA-EquiAlt Posts”).

        77.      Fifth, Defendants also knew that the EquiAlt Securities were being offered and sold

 in California, Arizona, Florida, Colorado, Nevada and elsewhere by unlicensed securities broker-




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 dealers and sales agents who were paid commissions by EquiAlt to do so. But Defendants further

 knew those commissions were not reported in EquiAlt’s SEC filings.

        78.     Sixth, Defendants actively assisted the offer and sale of the EquiAlt Securities by

 unlicensed securities broker-dealers and sales agents by assuring them that such sales complied

 with the operative securities laws.

        D.      Defendants Intended to Deceive the EquiAlt Investors

        79.     In addition to their active participation in the fraudulent scheme by drafting

 misleading offering documents used to induce investors to purchase the EquiAlt Securities,

 forming the Funds used to perpetrate the Ponzi scheme, providing false assurances to sales agents

 and investors and assisting in the ongoing affairs of EquiAlt, Defendants actively assisted EquiAlt

 and its principals in concealing the ongoing securities law violations from the investors, the SEC

 and state regulators. These actions were all undertaken to deceive EquiAlt’s existing and

 prospective investors into believing that the sale of unregistered securities by the Funds complied

 with the securities laws, which Defendants knew was an outright lie, and to conceal that the falsity

 of the representation in the PPMs that the offerings were “being made in strict compliance with

 the applicable state securities laws.”

                1.      Wassgren Orchestrates Formation of Multiple Funds and False
                        SEC Filings to Conceal EquiAlt’s Ongoing Securities Violations

        80.     To qualify for an exemption from registration under Regulation D, issuers must file

 a submission known as a “Form D” electronically with the SEC no later than 15 days after they

 first sell securities to the investing public. Form D is a brief notice that includes certain specified

 details concerning the issuing company’s promoters, the total offering amount, commissions paid

 to agents, the existence of non-accredited investors and similar information.




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        81.     A person who willfully fails to file a Form D or who willfully makes a false

 statement in a registration statement is guilty of a felony under the Federal securities laws. See 15

 USC § 77x. Also, under 17 CFR § 239.500(a)(3(i), an issuer must file an amendment to a

 previously filed Form D to correct any material errors in any previously filed Form D.

        82.     In furtherance of the ongoing fraudulent scheme, Wassgren drafted, reviewed

 and/or approved numerous Form Ds signed by Davison and submitted to the SEC on behalf of the

 EquiAlt Funds in order to claim the benefit of an exemption from registration under Regulation D.

 See Exhibit Y. As alleged in the following paragraphs, Wassgren helped orchestrate a pattern of

 falsified Form D filings with the SEC calculated to paper over and conceal that the EquiAlt

 Securities did not qualify for an exemption under Regulation D and, accordingly, from its inception

 EquiAlt was illegally selling unregistered securities using unlicensed sales agents in violation of

 the federal and state securities laws.

        83.     Acting on behalf of EquiAlt, Attorney Wassgren filed the articles of organization

 for Fund 1 with the Nevada Secretary of State on May 23, 2011. Two months later, on July 19,

 2011, EquiAlt Fund 1 filed its initial Form D with the SEC attesting that the securities to be issued

 by the fund were exempt from registration under Regulation D and that the total offering amount

 for Fund 1 was $50 million. The initial Form D for Fund 1 also attested that: (a) the first sale of

 securities issued by the fund had yet to occur; (b) the fund paid no commissions or finders’ fees

 associated with sales of its securities; (c) no amount of the gross proceeds of the offering has been

 or is proposed to be used for payments to executive officers, directors or promoters; and (d) Brian

 Davison was the sole related person associated with the fund. By signing the Form D, Davison

 attested that “[e]ach Issuer identified above has read this notice, knows the contents to be true, and

 has duly caused this notice to be signed on its behalf by the undersigned duly authorized person.”



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        84.     The foregoing attestations in the Fund 1 Form D filing with the SEC were false

 when made. Contrary to those attestations, the first sale of securities issued by Fund 1 were made

 in January 2011, months before the Form D was filed with the SEC, Fund 1 had paid commissions

 to unlicensed sales agents, and, in addition to Davison, Rybicki was a related person associated

 with Fund 1. Furthermore, although the Fund 1 Form D (and all other subsequent Form D filings)

 attested that no portion of the offering proceeds would be paid to any related persons, in reality

 EquiAlt paid Davison and Rybicki tens of millions of dollars raised through the securities offerings

 through undisclosed due diligence fees, management fees, success fees, auction fees, underwriting

 fees purchase discount fees, bonuses and outright improper cash distributions.

        85.     Wassgren, who actively assisted in the preparation and filing of the Form D, knew

 that these attestations in the Fund 1 initial Form D filing were false. Among other things, Wassgren

 knew that proceeds from the sales of securities issued by Fund 1 were being paid as commissions

 to unlicensed sales agents in contravention of applicable state and federal securities laws. In fact,

 Wassgren advised the EquiAlt managers to mischaracterize the unlicensed sales agents as

 “consultants” and to likewise mischaracterize the commission payments as “finders fees.”

 Wassgren knew that the EquiAlt sales agents were unlicensed sales agents who could not possibly

 qualify as “finders” or mere “consultants” because, among other things, they received transaction-

 based compensation, provided financial and suitability advice to prospective investors, actively

 located and solicited prospective investors and distributed PPMs and Subscription Agreements to

 prospective investors. As a consequence, Wassgren knew that, from the inception of Fund 1,

 EquiAlt was operating in violation of federal and state securities laws, exposing EquiAlt to civil

 and criminal penalties, investor claims for rescission, and inexorable ineligibility to participate in

 further Regulation D exempt offerings.



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         86.     The Form D also falsely attested that no portion of the offering proceeds would be

 paid to any of the executive officers or promoters of the fund when, in fact, the EquiAlt managers

 intended to and did divert millions of dollars of the offering proceeds to themselves.

         87.     As a result of its aggressive solicitation of elderly and unsophisticated investors

 with limited assets and modest income, EquiAlt soon sold fixed rate debentures issued by Fund 1

 to far more than 35 unaccredited and unsophisticated investors, thereby forfeiting its claimed

 registration exemption under Regulation D. EquiAlt further forfeited its registration exemption by

 soliciting investments from the general public through cold call solicitations, seminar

 presentations, media advertisements, websites and social media campaigns. As alleged above,

 Wassgren knew that EquiAlt had exceeded the limit on sales of unregistered securities issued by

 Fund 1 to unaccredited investors because the Investor Questionnaires were addressed and sent to

 Fox Rothschild and to DLA Piper.

         88.     Knowing that the securities issued by Fund 1 were not exempt from registration

 because, among other things, the sales to unaccredited investors greatly exceeded the numerical

 limit permitted by Regulation D and other requirements for the claimed registration exemption,

 Wassgren hatched a scheme to paper over and conceal the ongoing securities law violations. Based

 on the advice and with the active and knowing assistance of Wassgren, EquiAlt formed a new

 investment fund known as EquiAlt Fund II LLC (Fund 2) on April 24, 2013. Wassgren prepared

 and filed the Articles of Organization for Fund 2 with the Nevada Secretary of State. Fund 2 began

 selling unregistered securities on May 2, 2013, approximately one week after Fund 2 was formed.

 However, Fund 2 did not file the required Form D with the SEC until March 31, 2016, nearly three

 years later. This late-filed Form D was untimely, as Regulation D requires that the necessary notice

 be filed no later than 15 days after the securities are first sold by the issuer. In the Form D for Fund



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 2, CEO Davison attested that the securities issued by Fund 2 were exempt from registration under

 Regulation D.

         89.     The Fund 2 Form D attested that the total offering amount for the fund was $20

 million and that, as of the filing date, Fund 2 had issued $6 million of unregistered securities to 88

 investors. The Form D notice also attested that securities in the offering had been sold to 10

 unaccredited investors. The initial Form D for Fund 2 further attested that no sales commissions

 had been paid to any agents and estimated that $250,000 in “Finders’ Fees” had been paid in

 connection with the unregistered securities issued by Fund 2. The Form D filing attested that no

 portion of the offering proceeds would be paid to Davison, who was identified as the only any

 executive officer, director and promotor of Fund 2.

         90.     The foregoing attestations in the initial Form D notice for Fund 2 were false in

 many material respects. Contrary to the representations in the Form D filing, Fund 2 already had

 sold unregistered securities to far more than 10 unaccredited investors, the fund had paid

 commissions to its sales agents, those commissions did not qualify as “Finders’ Fees,” the amount

 of those commissions was far greater than $250,000 (as sales commissions ranged from 10–12%

 of the amounts paid by investors), and Davison was not the sole promoter of the fund. Wassgren

 knew that these attestations in the Form D notice were false and that accordingly the securities

 issued by Fund 2 were not exempt from registration under the applicable federal and state securities

 laws.

         91.     Moreover, as Wassgren knew, the scheme to split unaccredited investors between

 Fund 1 and Fund 2 was wholly ineffective to salvage the claimed registration exemption because

 the unregistered securities were being sold as part of an ongoing, integrated single offering. Among

 other things, the offerings were part of a single plan of financing, involved issuance of the same



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 class of security, were made at or about the same time, involved the same type of consideration

 and were made for the same general purpose. Furthermore, the safe harbor allowed by 17 CFR §

 230.502 was not available because the offerings were not made more than six months apart with

 no offers of the same or similar securities being made in between. Thus, even if the number of

 unaccredited investors reported for Fund 1 and Fund 2 in the Form D filings were correct (which

 they were not), Wassgren knew there were at least 41 unaccredited investors in the single

 integrated offering (31 unaccredited investors in Fund 1 and 10 unaccredited investors in Fund 2),

 once again confirming that the funds were illegally selling unregistered securities using unlicensed

 sales agents in violation of the federal and state securities laws.

        92.     Wassgren was well aware that the integrated serial funds that he advised EquiAlt

 to form in an attempt to deceive investors into believing that the Funds complied with the federal

 and state securities laws exposed EquiAlt and its managers to criminal prosecution and civil

 actions by investors. As Wassgren himself wrote in a 2016 article:

        [M]any developers may still need to turn to other forms of equity. In addition to
        crowdfunding, issuers may raise capital through more established exemptions such
        as Rule 506(b) and Rule 506(c). It is critical, however, that such developers or
        project sponsors seek the advice of securities counsel to ensure each offering
        complies fully with the associated rules and to prevent integration among multiple
        offerings, which could render each of them ineffective and, therefore, produce an
        illegal offering. As I have often counseled clients over the years, no one looks
        good in an orange jumpsuit. Even if criminal prosecutions for securities law
        violations are rare, they are best avoided, along with the associated civil actions
        brought by investors when securities laws have not been strictly followed.

 P. Wassgren, “Thinking About Crowdfunding Your Next Syndicated Deal” (February 17, 2016)

 available at https://dailyproperties.com/real-estate-crowdfunding-rules-regulations/

        93.     The pattern of false Form D filings by CEO Davison, all made with the knowledge

 and active assistance of Wassgren, continued over the following years. Fund 2 filed an amended

 Form D notice on April 26, 2016, less than a month after its initial Form D was filed. The amended


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 Form D for Fund 2 contained the same false statements as its initial Form D, but eliminated the

 language contained in the initial notice disclosing that Fund 2 sales agents were actively soliciting

 sales from investors residing in Arizona, California, Colorado, Massachusetts, Nevada and Utah.

 Davison amended the Fund 2 Form D in an attempt to withdraw the issuer’s admission that sales

 agents were actively soliciting investors in the fund, which was inconsistent with Wassgren’s

 attempt to evade the securities law violations by falsely characterizing the unlicensed sales agents

 as “consultants” receiving only “finders’ fees.”

        94.     The Fund 2 Form D filing with the SEC was amended again on August 31, 2017

 based on advice from attorney Wassgren. According to this new filing, since the prior amendment

 on April 26, 2017 Fund 2 had sold an additional $15 million of unregistered securities to an

 additional 121 investors. Yet, according to the new amended Form D, none of these additional

 investors was non-accredited and Fund D had paid no additional “finder’s fees” for any of the new

 sales. As Wassgren had to know, these representations in the new amended Form D were patently

 false. Nonetheless, Davison with the approval of Wassgren once again falsely attested when

 signing that the contents of the Form D notice were true and correct.

        95.     Wassgren arranged for the formation of another Nevada LLC, known as EquiAlt

 Fund III, on June 26, 2013. Although no Form D was ever filed for this short-lived fund, EquiAlt

 sold approximately $2.6 million of unregistered securities in it between July 2013 and December

 2015. EquiAlt began to wind down this fund during 2015, when it transferred its properties to

 Funds 1 and 2, in exchange for payments from Funds 1 and 2 of $1.63 million. This fund was

 formally closed in June of 2016, using funds diverted from Funds 1 and 2 to redeem its obligations

 to remaining investors.




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        96.     On January 20, 2016, EquiAlt formed another Nevada LLC, named EA SIP LLC

 (Fund 4). EquiAlt began raising capital through the issuance of unregistered EquiAlt Securities by

 Fund 4 in April 2016. With the knowledge and active assistance of Wassgren, Fund 4 filed an

 initial Form D on August 5, 2016 for an offering in the total amount of $25 million. Like all the

 Funds’ prior SEC filings, the Fund 4 Form D contained a series of false attestations. Although

 Fund 4 began selling EquiAlt Securities and paying sales agent commissions four or five months

 earlier, its Form D represented that the first sale of unregistered securities had yet to occur, that

 there were no Fund 4 investors and that no commissions or finder’s fees had been paid to agents.

 And, as with the other Form D filings, the initial Form D filed with the SEC for Fund 4 failed to

 disclose that Rybicki was a related person. Nonetheless, Davison falsely attested when signing that

 the contents of the Form D notice were true and correct.

        97.     As alleged more fully below, in 2019 the SEC commenced an investigation of

 EquiAlt and its affiliated entities, including the Funds. DLA Piper attorneys, including Wassgren,

 represented EquiAlt and its managers in connection with the SEC investigation. Realizing that the

 jig was up, Wassgren assisted in the preparation of yet another amended Form D notice for Fund

 1. By this point, according to the amended Form D, Fund 1 had raised funds from 1,089 investors

 totaling $103 million. The newly amended Form D belatedly disclosed that Rybicki was a related

 person for Fund 1 (as he always had been), and now disclosed that Fund 1 had paid “finders’ fees”

 totaling $12,300,000.

                2.       Wassgren Derails Arizona’s Investigation into EquiAlt’s Operations

        98.     The SEC investigation was not the first fended off by Wassgren.

        99.     In early 2013, the Arizona Securities Division (“ASD”) had commenced an

 investigation into potential securities law violations by EquiAlt and its managers, including

 EquiAlt’s illegal sales of unregistered securities. The ASD was investigating whether the EquiAlt

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 Securities were investment contracts, and hence securities requiring registration, rather than mere

 fixed-interest promissory notes.

        100.    As part of the ASD investigation regulatory authorities sought documents and

 testimony from EquiAlt, Rybicki and various sales agents. EquiAlt and Rybicki were represented

 in the investigation by Fox Rothschild attorneys Wassgren and Ernest Badway. Thus, on January

 30, 2013, attorney Ernest Badway informed the ASD that Fox Rothschild was “representing both

 Mr. Rybicki and EquiAlt Fund” and that documents would be produced in response to outstanding

 subpoenas on February 27, 2013. See Email from Badway to Millecam dated Jan. 30, 2013,

 attached as Exhibit M. Arrangements were thereafter made for Davison to be examined under

 oath on March 27, 2013 and for Rybicki to be examined by the ASD the following day.

        101.    On March 26, 2013, at 1:43 PM, Rybicki sent an email to Fox Rothschild attorneys

 Badway and Wassgren marked “Importance: High.” See March 26, 2013 Email Chain, attached

 as Exhibit N. Rybicki indicated that he had just spoken to a client and that Davison “wanted me

 to send the following information:”

        [ASD] Securities officer (Dee Morin) stated to the client that “we (Equialt) should
        be giving the client a deed of trust on every investment” if not than [sic] this is a
        violation.

        My issue with this is that I am going to be taking a lot of client phone calls in regard
        to this question. Can you clarify that this is accurate for what we are doing and how
        to answer this? Also if this is incorrect is there any way of getting a hold of this
        officer and explaining how this line of questioning and subsequent accusation is
        not acceptable?

 Id. (emphasis added). Thus, Wassgren and the other Fox Rothschild attorney representing EquiAlt

 were on actual notice that, in the view of the Arizona Securities Division, the EquiAlt

 “Debentures” were, in reality, unregistered securities rather than traditional debt instruments,

 given the lack of any deed of trust or other collateral arrangement; and, that the issuance or sale of

 the unregistered securities was a violation of the Arizona Securities Act. Wassgren already knew,

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 of course, that the EquiAlt “Debentures” qualified as unregistered securities; that the Equialt

 “Debentures” had been sold by unlicensed sales agents; and also knew that none of the investors

 had been offered or given deeds of trust to collateralize their investments.

        102.    Davison and Rybicki, concerned that Rybicki was “going to taking a lot of client

 phone calls in regard to this question” by the securities regulators, frantically asked Wassgren

 whether the ASD’s conclusion was “accurate” and sought advice concerning “how [they should]

 answer this” accusation. Id. Wassgren replied to Rybicki’s email within 30 minutes, stating that

 he had discussed Rybicki’s concerns with Ernest Badway, and that they had developed the

 following messaging for the investors:

        Ernie and I spoke briefly, and suggest that you advise your investors that the State
        of Arizona does not understand the deal structure. Perhaps they will after we
        complete the examinations under oath.

        To be clear, the offering that we set up is an unsecured debt or promissory note
        offering. The company is offering a fixed return to all investors. This debt
        obligation is not secured by a deed of trust.

        If your investors are in doubt, please feel free to mention that the company is
        represented by a national law firm that timely filed the securities exemption
        required under Arizona law.

 Id. (emphasis added). As Wassgren recommended, Rybicki passed the message crafted by

 Wassgren on to EquiAlt sales agents and as well to its investors.

        103.    Wassgren’s statements, made as part of his continuing, active assistance in

 EquiAlt’s ongoing securities laws violations, falsely represented that the EquiAlt Securities were

 mere fixed rate promissory notes, when he knew that the EquiAlt debentures in actuality were

 unregistered securities. Moreover, Wassgren’s representations that the EquiAlt Securities were

 exempt from registration based on timely filed securities exemptions were patently false for the

 reasons alleged above. Wassgren knew and intended that these false representations would be

 conveyed to the investors to assuage their concerns about the legality of the EquiAlt offerings, and

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 even encouraged Rybicki to comfort investors that EquiAlt was represented by the “national law

 firm” of Fox Rothschild.

        104.    Wassgren thereafter continued to assist EquiAlt in furtherance of the ongoing Ponzi

 scheme. From 2016, Wassgren prepared and filed Articles of Organization in Florida for no less

 than 15 different limited liability companies formed by EquiAlt to acquire and hold properties

 purchased using investor funds.

        105.    In addition, during 2018 Wassgren represented EquiAlt in the formation of a Real

 Estate Investment Trust known as the EquiAlt Secured Income Portfolio REIT (the “REIT”), a

 new entity into which EquiAlt intended to funnel existing investors holding EquiAlt Securities.

 DLA Piper was paid at nearly $500,00 in legal fees to form the new REIT directly from the bank

 account containing funds raised from the investors in the other Funds. The draft promotional

 materials for the REIT, attached as Exhibit O, identified “DLA Piper a renowned global law firm

 as our counsel.”

        106.    EquiAlt intended to raise funds for the REIT using unlicensed sales agents who

 were to receive substantial commissions for locating and securing new and existing investors. The

 offering documents for the REIT, once again prepared by Wassgren, contained misrepresentations

 and omitted material facts, comparable to those infecting the offering documents Wassgren

 prepared for the Funds.

        107.    In reality, the REIT was formed with the active assistance and based on the advice

 of Wassgren, in an attempt to sanitize the securities laws violations associated with the prior

 offerings. Thus, $4.8 million of the $5.9 million raised for the REIT resulted from redemptions of

 EquiAlt Securities held by existing investors reinvesting in the REIT. And, as the SEC was closing




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 in on the EquiAlt Ponzi scheme, Wassgren and other DLA attorneys were counseling Davison to

 terminate and convert the REIT into a private partnership. [ECF No. 164-3, Ex. 2].

           108.   Also, in 2018, Wassgren assisted the EquiAlt managers in forming yet another

 entity in furtherance of the fraudulent Ponzi scheme. The new fund, organized as a Qualified

 Opportunity Zone (the “QOZ”) offering, purportedly would provide investors willing to hold for

 10 years with a non-taxable compounded return of 6%. Once again, with the knowledge of

 Wassgren, Rybicki reached out to the network of unlicensed sales agents who were used to market

 and sell the EquiAlt unregistered securities. Also, like the REIT, the offering materials drafted by

 Wassgren for the QOZ were riddled with material misrepresentations and omissions concerning

 Davison and Rybicki, the ongoing securities laws violations (both the prior violations and those

 associated with the QOZ) and the financial failure of the EquiAlt Funds being operated as an

 ongoing Ponzi scheme.

           109.   Indeed, Wassgren and DLA Piper continued to assist EquiAlt in connection with

 the REIT and QOZ offerings, which were designed to raise additional funds from investors to

 allow Davison and Rybicki to perpetuate the ongoing Ponzi scheme, even as the SEC investigation

 was proceeding and at the same time the SEC was securing its injunction against EquiAlt. [ECF

 No. 164-3 at 2].

           E.     The SEC Finally Shuts Down EquiAlt’s Illegal Securities Sales

           110.   By the Spring of 2019, at the latest, the SEC commenced an investigation into the

 activities of EquiAlt, the Funds, Davison, and Rybicki styled as “In the Matter of Certain

 Unregistered Securities Transactions.” As part of the investigation, the SEC issued subpoenas to

 the EquiAlt entities, Davison, and Rybicki, conducted on-site inspections at the EquiAlt offices

 and, in August of 2019, the SEC issued subpoenas for documents and testimony to various sales

 agents.

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        111.    Notwithstanding the fact that Wassgren and other DLA Piper lawyers were material

 witnesses to the underlying securities law violations, DLA Piper continued to represent EquiAlt,

 the EquiAlt Funds, Davison and Rybicki in the SEC investigation, with DLA Piper attorney Jessica

 Masella serving as lead counsel. In early September 2019, Rybicki sent emails to various sales

 agents who had received SEC subpoenas, recommending that they retain a single lawyer to

 represent them “so we don’t have any issues with multiple representatives while going through

 this” SEC investigation. See Email from Rybicki dated Sept. 6, 2019, attached as Exhibit P.

 Rybicki recommended, based on the advice of DLA Piper, that the agents retain attorney Amy

 Lester and told them that EquiAlt would “do our best to help with your cost for this but we really

 need to know how many Advisors have been or will be receiving a subpoena before we can commit

 to a dollar amount etc.” Id.

        112.    By November of 2019, the SEC had secured documents and other information

 through the ongoing investigation and was reaching out to investors. Davison and Rybicki were

 frantic that the SEC proceedings would cause a run on the bank as additional investors demanded

 redemptions. With input and advice from Wassgren, they considered closing Fund I and moving

 money into the REIT that Wassgren was forming for them. The following exchange of text

 messages between Davison and Rybicki confirms Wassgren’s deep involvement in the scheme to

 close the fund that was the subject of ongoing SEC scrutiny and use the REIT (which was to be a

 registered entity) as a mechanism to sanitize the rampant prior securities law violations and to

 perpetuate the Ponzi scheme:




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 [ECF No. 164-1 at 23-24]

        113.   Lamenting the fact that DLA Piper had turned over too much information to the

 SEC concerning EquiAlt’s use of unlicensed sales agents, Davison and Rybicki turned to

 Wassgren for “crisis management” and with the hope that he could obtain an injunction to thwart

 the ongoing SEC investigation:




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 [ECF No. 164-1 at 24-25]

        114.    Davison and Rybicki further lamented that investors were “taking calls from the

 SEC and then blowing us or the advisors up!” [ECF No. 164-1 at 27]. Davison and Rybicki voiced

 their frustrations that DLA Piper “should have controlled this [the SEC investigation] better from

 the start.” Davison and Rybicki blamed EquiAlt’s registration violations on Wassgren and

 confirmed that the DLA lawyers had gained knowledge of EquiAlt’s accounting and finances. Id.

        115.    On February 11, 2020, the SEC commenced the SEC Action against EquiAlt and

 others to, among other things, halt the ongoing sale of the EquiAlt Securities, through which

 EquiAlt had by that time raised over $170 million from Plaintiffs and some 1,100 other investors

 nationwide, through the efforts of numerous unlicensed sales agents. See Ex. A.

        116.    The EquiAlt Securities purchased by Plaintiffs are now worthless.

        117.    Shortly after the SEC complaint against EquiAlt was unsealed and the SEC’s

 allegations made public, DLA Piper scrubbed the DLA-EquiAlt Posts from its website.




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        F.      The Non-Defendants Sales Agents Owed Plaintiffs Fiduciary Duties

        118.     Although the EquiAlt sales agents were not registered with the SEC or the

 Financial Regulatory Authority (FINRA) to sell securities, they have the same fiduciary duties as

 any FINRA registered financial advisor, broker or other SEC or state registered investment

 advisor.

        119.     EquiAlt solicited and sold EquiAlt unregistered securities through EquiAlt

 authorized sales agents, who acted as de facto investment advisors or brokers or financial advisors.

        120.    Each of the EquiAlt sales agents that sold EquiAlt Securities to the Plaintiffs were:

 (1) engaged in the business of effecting transactions in securities for the account of others, (2)

 received transaction-based commissions, (3) provided advice and recommendations as to

 investment in EquiAlt Securities, (4) actively solicited investments in EquiAlt Securities, and (5)

 held themselves out as investment advisors, so their mere failure to register as a “broker” or

 “investment advisor” does not excuse them from the fiduciary and other duties which attach to

 such activities. Indeed, under Fla. Stat. 517.021 (14(a) ), it defines an “investment advisor” as “any

 person who receives compensation, ... and engages for all or part of her or his time, ... in the

 business of advising others as to the value of securities or as to the advisability of investments in,

 purchasing of, or selling of securities”), and similarly, under the SEC Act, 15 U.S.C. § 78c(a)(4),

 it defines “broker” to be “any person who engaged in the business of effecting transactions in

 securities for the account of others”.

        121.    Here, each of the EquiAlt sales agents who sold EquiAlt Securities received

 transaction based commissions.

        122.    Further, the EquiAlt sales agents actively found investors, provided advice or

 valuation as to the merit of the EquiAlt investment, and received a commission on each sale.



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        123.    EquiAlt and its sales agents obtained the trust and confidence of the Plaintiffs by

 purporting to have superior knowledge and expertise in the EquiAlt investments, and, in each

 instance, in essence advised the Plaintiffs that their investment was backed by real estate, was a

 safe or secure fixed income investment, and that EquiAlt had a successful track record. The sales

 agents also gave out EquiAlt brochures to investors which stated that investors could contact

 EquiAlt’s attorney and that it is “independent from EquiAlt LLC and can give you some insight

 into the fund and its activities.” See, e.g., Exs. G & H.

        124.    Based on the totality of above information that was disseminated by EquiAlt and

 its sales agents, their representations of expertise or superior knowledge in EquiAlt investments

 and the purported safety of the EquiAlt investments, EquiAlt and its financial advisors gained the

 trust and confidence from the Plaintiffs, and that trust and confidence was reposed in EquiAlt and

 its financial advisors. This trust and confidence obtained from the Plaintiffs by EquiAlt sales agents

 and EquiAlt employees created a fiduciary duty owed to the Plaintiffs.

        125.    EquiAlt and the EquiAlt financial advisors breached their fiduciary duty to the

 Plaintiffs via their misconduct, more particularly described throughout this complaint, including,

 but not limited to:

            a. Failing to disclose that the EquiAlt Securities were not exempt from registration;

            b. Failing to disclose that the EquiAlt Securities were being sold in violation of state

 and federal securities registration laws;

            c. Failing to disclose that EquiAlt Securities were sold via misrepresentations and

 omissions of material facts as described in this complaint;




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            d. Failing to disclose that the EquiAlt Securities were sold by unlicensed sales agents,

 aka investment advisors or brokers, who were required by law to be licensed in order to sell

 EquiAlt Securities;

            e. Failing to disclose that EquiAlt was being operated as a Ponzi scheme, where later

 investors’ monies were being used to pay interest returns and principal to earlier investors;

            f. Failing to disclose that EquiAlt’s net income, without new investor money, was

 insufficient to pay its obligations as they came due in the ordinary course of their business;

            g. Failing to disclose that there were regulatory inquiries from regulators who were

 investigating the legality of the sale of EquiAlt Securities;

            h. Failing to adequately investigate the EquiAlt operations and investments, such as

 failing to obtain audited financial statements to confirm the viability of the EquiAlt investments;

            i.   Failing to fully explain the risks of the EquiAlt Securities that were part of a Ponzi

 scheme;

            j.   Failing to study the EquiAlt investments so as to be adequately informed as to its

 nature, price and financial prognosis;

            k. Failing to refrain from self-dealing in that the EquiAlt advisors knew that they did

 not have verifiable, audited financial information, but yet touted the EquiAlt investments as fully

 secured by real estate, in order to earn a large commission on each sale;

            l.   Failing to contact their state securities regulator, FINRA or the SEC to confirm

 whether they could legally sell EquiAlt Securities without a license;

            m. Failing to contact their state securities regulator or the SEC to confirm whether

 EquiAlt Securities could be sold without registration or a proper exemption from registration; and




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              n. Failing to obtain a securities license or registration as a broker-dealer before selling

 EquiAlt Securities.

         G.      APPLICATION OF THE DISCOVERY RULE, THE FRAUDULENT
                 CONCEALMENT DOCTRINE AND EQUITABLE TOLLING

         126.     Plaintiffs and the class members had no reason to suspect they had sustained

 injuries caused by Defendants’ wrongful conduct alleged herein until the SEC filed its complaint

 on February 11, 2020, or later and, despite reasonable investigation, Plaintiffs were unaware until

 then of a factual basis for the causes of action alleged herein. Plaintiffs and the class members

 likewise did not and could not reasonably have discovered the alleged breaches of fiduciary duties,

 misrepresentations and corresponding securities violations and fraud until the SEC filed its

 complaint, at the earliest.

         127.    As alleged above, the EquiAlt marketing brochures, sales solicitation documents,

 PPMs and subscription agreements all made false representations and failed to disclose material

 information concerning the safety and liquidity of the EquiAlt Securities, the risks associated with

 investments in the EquiAlt Securities, EquiAlt’s compliance with the securities laws, the

 experience and qualifications of EquiAlt management and the quality and values of the real estate

 previously acquired and to be acquired by the EquiAlt Funds.

         128.    EquiAlt and Defendants never disclosed or suggested to Plaintiffs and the class

 members that EquiAlt and the EquiAlt funds were being operated as part of a massive Ponzi

 scheme or that the EquiAlt managers were diverting millions of dollars in EquiAlt assets for their

 own personal gain. Nor did EquiAlt or Defendants disclose to the investors that properties and

 assets were being transferred between and among the EquiAlt Funds in furtherance of the ongoing

 Ponzi scheme and breaches of fiduciary duties.




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         129.    Despite their periodic inquiries and efforts to monitor the status of their investments

 in the EquiAlt Securities, Plaintiffs and the class members lacked any ability to discover the true

 financial condition of the EquiAlt Funds or the profligate way EquiAlt was being managed and

 operated. EquiAlt provided no audited or unaudited financial statements to the investors,

 distributed no written reports describing or summarizing EquiAlt’s operations or financial

 condition, nor did EquiAlt provide any specific information concerning the properties supposedly

 acquired, appraisals or appraised values of the properties, details concerning the acquisition or

 sales of the properties supposedly bought and sold by the EquiAlt Funds or any comparable

 information. To the contrary, all information concerning EquiAlt’s operations, financial condition,

 profits and losses, intra-fund transfers, payments to management and the status of the properties

 acquired by the EquiAlt Funds and EquiAlt’s securities law violations was and remained in the

 exclusive possession and control of EquiAlt management and/or Defendants.

         130.    There was simply no possible avenue for Plaintiffs or the class members to pursue

 or obtain the information necessary for them to discover the wrongdoing alleged herein until the

 SEC filed its complaint revealing the Ponzi scheme, at the earliest.

         131.    In addition, Plaintiffs and the class members could not reasonably have discovered

 the wrongdoing earlier due to the active, ongoing fraudulent concealment of the true facts by

 EquiAlt and the Defendants. Indeed, in addition to the fraudulent misrepresentations by EquiAlt

 management, Defendants made affirmative false representations to the investors in the PPMs and

 other documents drafted by Defendants concerning EquiAlt’s compliance with the federal and

 state securities laws.

         132.    Under the fraudulent concealment and equitable tolling doctrines applicable to the

 claims alleged herein, the limitations periods applicable to the claims asserted in this action were



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 tolled through February 11, 2020, at the earliest, based on the active deception of EquiAlt and the

 Defendants in concealing Plaintiffs’ causes of action.

                           PLAINTIFF-SPECIFIC ALLEGATIONS

                              Plaintiffs Richard and Phyllis Gleinn

        133.    Plaintiffs Richard and Phyllis Gleinn are husband and wife who reside in Sumter

 County, Florida. The Gleinns invested $50,000 in 2016, which investment matured in 2019. On

 April 11, 2019, Andre Sears reached out to the Gleinns to solicit them to reinvest with EquiAlt. At

 or about that time, between April 11, 2019 and April 25, 2019, they were again solicited to “renew”

 and “add to” their EquiAlt investment. The Gleinns invested $150,000 in EquiAlt Fund II on or

 about April 25, 2019 and sent their funds to EquiAlt on or about May 1, 2019. The Gleinn’s

 EquiAlt investment contract is attached hereto as Exhibit Q.

                                       Plaintiff Cary Toone

        134.    Plaintiff Cary Toone is a resident of Gilbert, Arizona. Following a solicitation by

 an unlicensed EquiAlt sales agent, Toone purchased $30,000 of Fund 2 on September 26, 2019

 and $60,000 of EquiAlt Fund LLC for his IRA on April 8, 2019. Toone’s EquiAlt investment

 contracts are appended hereto as Exhibit R. Toone is not an accredited investor.

                                   Plaintiffs John and Maria Celli

        135.    Plaintiffs John and Maria Celli are husband and wife who reside in Prescott,

 Arizona and invested $50,000 in EquiAlt Securities on August 7, 2019. The Celli’s EquiAlt

 investment contract is appended hereto as Exhibit S.



        136.    Plaintiff Eva Meier is a resident of San Diego County, California and initially

 solicited to invest $100,000 from her IRA into EquiAlt Fund LLC and made the first investment



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 in or about September 29, 2017. In or about January 6, 2020, Meier invested additional monies

 with EquiAlt. On or about January 6, 2020, Meier invested $73,229.81 in EquiAlt Fund II from

 her beneficiary IRA account, an additional $74,716 in EquiAlt Fund II from her SEP IRA. Meier’s

 EquiAlt investment contract is appended hereto as Exhibit T.

                                      Plaintiff Georgia Murphy

        137.    Plaintiff Georgia Murphy funded that $250,000 investment in or about December

 21, 2016. Later, in or about January 30, 2018, Murphy was solicited by Armijo to transfer $150,000

 from her EquiAlt Fund LLC investment and roll that into the EquiAlt Secured Income Portfolio.

 Murphy’s EquiAlt investment contract is appended hereto as Exhibit U.

                            Plaintiffs Steven and Tracey Rubinstein

        138.    Plaintiffs Steven and Tracey Rubinstein are husband and wife, and serve as co-

 trustees of the Rubinstein Family Trust dated 6/25/2010. On January 31, 2020, the Rubinsteins

 purchased a $75,000 investment with Fund 2, at an annual rate of 8.00%, with a 48-month term.

 The Rubinstein’s investment contract is appended hereto as Exhibit V.

                                 Plaintiff Bertram D. Greenberg

        139.    Plaintiff Greenberg was on April 3, 2018, sold a $50,000 investment in Fund 1 at

 his home in Santa Clara County, California. Plaintiff Greenberg was 89 years of age at the time of

 the offer and sale of the EquiAlt Debenture. Greenberg’s EquiAlt investment contract is appended

 hereto as Exhibit W.

                           Plaintiffs Bruce R. and Geraldine Hannen

        140.    Plaintiffs Bruce R. and Geraldine Mary Hannen are spouses who were introduced

 to EquiAlt and the EquiAlt Debentures by unlicensed EquiAlt employees Andre Sears and Maria-

 Antonia Sears d/b/a The Picasso Group. On July 26, 2016, the Hannens purchased their first



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 EquiAlt Debenture, making a $200,000 investment with EquiAlt Fund II, at an annual rate of

 9.25%, with a 36-month term. On July 13, 2019, and at the end of the 36-month term, the Hannens

 renewed their EquiAlt investment, purchasing an EquiAlt Debentures for $200,000 with EquiAlt

 Fund II, at an annual rate of 9.00%, with a 36-month term. The Hannens’ investment contracts are

 appended hereto as Exhibit X.


                           Plaintiffs Rory O’Neal and Marcia O’Neal

        141.    Plaintiffs Rory and Marcia O’Neal are husband and wife who reside in Reno

 County, Nevada and who were introduced to EquiAlt and the EquiAlt Debentures by Bobby

 Armijo of Joseph Financial. On August 21, 2017, the O’Neals invested $200,000 from Marcia

 O’Neal’s IRA in EquiAlt Fund 1 through the acquisition of a debenture security with an annual

 interest rate of 12%, with a 36-month term. Then, on January 18, 2018, Marcia O’Neal transferred

 the $200,000 investment from Fund 1 to Fund 4. In exchange, Marcia O’Neal received Stock

 Certificate Number 16, with a floor rate of 7% annually with bonus dividend paid in first quarter

 of the following year and quarterly payments to being in January 2019 and every quarter thereafter.

 On October 26, 2017, the O’Neals invested $50,000 from Rory O’Neal’s IRA in EquiAlt Fund 1

 through the acquisition of a debenture security with a 12% interest rate and a 36-month term. On

 January 18, 2018, Rory O’Neal transferred the $50,000 investment from Fund 1 to Fund 4. In

 exchange, Marcia O’Neal received Stock Certificate Number 17, with a floor rate of 7% annually

 with bonus dividend paid in first quarter of the following year and quarterly payments to being in

 January 2019 and every quarter thereafter. On The O’Neals’ investment contracts are appended

 hereto as Exhibit Z.




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                                          Plaintiff Sean O’Neal

        142.    Plaintiff Sean O’Neal resides in Reno County, Nevada and was introduced to

 EquiAlt and the EquiAlt Debentures by Bobby Armijo of Joseph Financial.. On or about December

 8, 2016, Sean O’Neal invested $1,000,000 as trustee of The O’Neal Family Trust Dated April 6,

 2004, as amended, in Fund 1, with a 10% annual interest rate and a 36-month term. On or about

 October 3, 2017, Sean O’Neal invested $1,000,000 as trustee of The O’Neal Family Trust Dated

 April 6, 2004, as amended, in Fund 1, with a 12% annual interest rate and a 36-month term. On or

 about October 18, 2017, Sean O’Neal invested $1,000,000 as trustee of The O’Neal Family Trust

 Dated April 6, 2004, as amended, in Fund 1, with a 12% annual interest rate and a 36-month term.

 On January 18, 2018, Sean O’Neal transferred a $1,000,000 investment from Fund 1 to Fund 4. In

 exchange, Sean O’Neal received Stock certificate number 22, with a with a floor rate of 7%

 annually with bonus dividend paid in first quarter of the following year and quarterly payments to

 being in April 2019 and every quarter thereafter. On May 15, 2018, Sean O’Neal transferred a

 $2,000,000 investment from Fund 1 to Fund 4. In exchange, Sean O’Neal received Stock

 certificates number 5, with a with a floor rate of 7% annually with bonus dividend paid in first

 quarter of the following year and quarterly payments to being in April 2019 and every quarter

 thereafter. O’Neal’s investment contracts are appended hereto as Exhibit AA.

                                        Plaintiff Robert Cobleigh

        143.    Plaintiff Robert Cobleigh resides in El Centro, California. On September 20, 2019,

 Robert Cobleigh invested $270,000 of his savings in EquiAlt Fund 2, purchasing a debenture with

 a 48-month term and 8.00% interest. Two months later, Cobleigh invested another $250,000 in

 EquiAlt Fund 1, purchasing a debenture with a 48-month term and 8.00% interest. Cobleigh’s

 investment contracts are appended hereto as Exhibit BB.



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                                     CLASS ALLEGATIONS

        144.    Plaintiffs bring assert their claims on behalf of themselves and the following four

 classes of similarly situated investors in Florida, California, Arizona, Colorado, and Nevada:

                The Florida Class: All persons who purchased an EquiAlt Security: (a)
                while they were a resident of Florida; or (b) from or through agent or other
                seller operating in or from Florida.

                The California Class: All persons who purchased an EquiAlt Security: (a)
                while they were a resident of California; or (b) from or through agent or
                other seller operating in or from California.

                The California Elder Subclass: All California residents who were at least
                65 years of age when sold an EquiAlt Security.

                The Arizona Class: All persons who purchased an EquiAlt Security: (a)
                while they were a resident of Arizona; or (b) from or through agent or other
                seller operating in or from Arizona.

                The Colorado Class: All persons who purchased an EquiAlt Security: (a)
                while they were a resident of Colorado; or (b) from or through agent or other
                seller operating in or from Colorado.

                The Nevada Class: All persons who purchased an EquiAlt Security: (a)
                while they were a resident of Nevada; or (b) from or through agent or other
                seller operating in or from Nevada.

 (collectively, “the Classes”). Excluded from the Classes are Defendants and EquiAlt, their officers,

 directors and employees, any broker-dealer or sales agent who sold an EquiAlt Security to any

 member of the Classes, and any member of the Classes who has initiated individual litigation

 against the Defendants predicated on the same facts alleged herein.

        145.    Size of Classes: EquiAlt Securities were sold to approximately 1,100 investors

 nationwide, with hundreds of investors located in Florida, California, Arizona, Colorado, and

 Nevada. Because there are hundreds of members of each of the Classes described in the foregoing

 paragraph, joinder of all members is impracticable. The identities and addresses of the members

 of these Classes can be readily ascertained from business records maintained by EquiAlt.


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        146.     Adequacy of Representation: Plaintiffs are willing and prepared to serve the Court

 and the proposed Classes in a representative capacity. Plaintiffs will fairly and adequately protect

 the interests of the Classes and have no interests that are adverse to, or which materially and

 irreconcilably conflict with, the interests of the other members of the Classes. The self-interests of

 Plaintiffs are co-extensive with and not antagonistic to those of absent Class members. Plaintiffs

 will undertake to represent and protect the interests of absent Class members. Plaintiffs have

 engaged the services of counsel indicated below who are experienced in complex class litigation

 and life insurance matters, will adequately prosecute this action, and will assert and protect the

 rights of and otherwise represent Plaintiffs and the putative Class members.

        147.     The Commonality of Questions of the Law and Fact: The claims of Plaintiffs and

 putative Class Members involve common questions of law and fact., including

            a.   Whether the EquiAlt Securities constituted “securities” with the meaning of the

                 Federal securities statutes;

            b. Whether the EquiAlt Securities were exempt from registration under the federal

                 securities statutes;

            c. Whether the EquiAlt Securities constituted “securities” with the meaning of the

                 pertinent State securities statutes;

            d. Whether the EquiAlt Securities were exempt from registration under the pertinent

                 State securities statutes;

            e. Whether the sale of the EquiAlt Securities though the Funds constituted an

                 integrated offering;

            f. Whether EquiAlt intended to sell and did in fact sell its securities to more than 35

                 non-accredited investors through the Funds;



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          g. Whether EquiAlt engaged directly and through its agents in general solicitations

               and advertising to market its unregistered securities;

          h. Whether EquiAlt made commission payments to its unlicensed sales agents not

               disclosed in its SEC filings claiming the Reg D exemption from registration;

          i.   Whether EquiAlt would and did fail to provide investors with information and

               disclosures required by Regulation D, including audited financial statements;

          j.   Whether the EquiAlt PPMs contained materially false and misleading statements;

          k. Whether the EquiAlt Form D filings contained materially false and misleading

               statements;

          l.   Whether Defendants were knowing participants in the ongoing illegal sales of

               securities by EquiAlt and the Non-Defendant Promoters;

          m. Whether Defendants played a substantial role in inducing the illegal sales of

               EquiAlt Securities;

          n. Whether Defendants lent substantial assistance to an ongoing scheme to defraud

               Plaintiffs and the other members of the Classes;

          o. Whether Defendants were professionally obligated to terminate their representation

               of EquiAlt to avoid covering-up and assisting the ongoing (and past) fraud

               perpetrated by it and the Non-Defendant Promoters;

          p. Whether Defendants’ actions constitute primary violations of the pertinent State

               securities statutes;

          q. Whether Defendants’ actions constitute secondary violations of the pertinent State

               securities statutes;




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            r. Whether Defendants’ actions constitute aiding and abetting of violations of the

                 pertinent State securities statutes;

            s. Whether Defendants’ actions constitute aiding and abetting fraud;

            t. Whether Defendants’ actions constitute aiding and abetting breach of fiduciary

                 duty;

            u. Whether Defendants’ actions constitute civil conspiracy;

            v. Whether Defendants’ actions constitute statutory Elder Abuse under California

                 law;

            w. Whether Defendants’ actions constitute a violation of any prong of California’s

                 unfair Competition Law;

            x. Whether Plaintiffs and members the Classes have been damaged, and if so, are

                 eligible for and entitled to compensatory and punitive damages;

            y.   Whether EquiAlt sales agents were required to be licensed under state or federal

                 securities laws;

            z. Whether EquiAlt was operating as an unlicensed broker-dealer; and

            aa. Whether Plaintiffs and Members of the Classes are entitled to other, equitable relief.

        148.     Typicality of the Claims or Defenses of the Class Representatives: Plaintiffs’

 claims and defenses are typical of the claims and defenses of the putative Class Members.

        149.     Rule 23(b)(3): This action is appropriate as a class action pursuant to Federal Rule

 of Civil Procedure 23 (b)(3). The common questions of law and fact listed above predominate over

 any individualized questions. A class action is superior to other available methods for the fair and

 efficient adjudication of this controversy, for the following reasons:




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            a. Given the age of Class Members, many of whom are elderly and have limited

                resources, the complexity of the issues involved in this action and the expense of

                litigating the claims, few, if any, Class Members could afford to seek legal redress

                individually for the wrongs that Defendants have committed against them, and

                absent Class Members have no substantial interest in individually controlling the

                prosecution of individual actions;

            b. Once Defendants’ liability has been adjudicated respecting the EquiAlt Securities,

                claims of all Class Members can be determined by the Court;

            c. This action will ensure an orderly and expeditious administration of the Class’s

                claims and foster economies of time, effort, and expense, and ensure uniformity of

                decisions; and

            d. This action does not present any undue difficulties that would impede its

                management by the Court as a class action.

 A class action is thus superior to other available means for the fair and efficient adjudication of

 this controversy.

        150.    Nature of Notice to the Proposed Classes. The names and addresses of all Class

 Members are contained in the business records maintained by Defendant and are readily available

 to Defendant. The Class Members are readily and objectively identifiable. Plaintiffs contemplate

 that notice will be provided to Class Members by e-mail, mail, and published notice.




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                                        CLAIMS FOR RELIEF

                                        THE FLORIDA CLAIMS

                                                COUNT I

                                     Aiding and Abetting Fraud
                           (Individually and on behalf of the Florida Class)

         151.      Plaintiffs Gleinn repeat and re-allege the allegations contained in paragraphs 1–150

 above, as if fully set forth herein.

         152.      EquiAlt and its sales agents, consistent with the brochures, told Plaintiffs words to

 the effect that that their investment was backed by real estate, was a safe or secure fixed income

 investment, and that EquiAlt had a successful track record. The sales agents also gave out EquiAlt

 brochures to investors which stated that investors could contact EquiAlt’s attorney and that it is

 “independent from EquiAlt LLC and can give you some insight into the fund and its activities.

         153.      EquiAlt and the EquiAlt financial advisors made misrepresentations and omitted

 material facts to the Plaintiffs via their misconduct.

         154.      The Defendants substantially assisted or encouraged the wrongdoing that

 constituted the Ponzi scheme fraud conducted EquiAlt and its unlicensed sales agents; further,

 Defendants had knowledge of such fraud, because they actively participated in the making the sale

 by their actions or by stepping outside of their normal role as attorneys providing routine legal

 advice, under the totality of the events as more fully described in this complaint.

         155.      Defendants stepped out of their normal role as attorneys and participated in the

 fraud, by participating in the creation of documents which contain clear misstatements and omit

 material facts that should have been disclosed to the Plaintiffs, and by other actions described in

 this complaint.




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         156.    Defendants’ aiding and abetting the EquiAlt fraud caused damages to the Plaintiffs

 in the amount of their lost investments, believed to be $170 million dollars, less interest payments.

                                               COUNT II

                              Aiding and Abetting Breach of Fiduciary Duty
                             (Individually and on behalf of the Florida Class)

         157.    Plaintiffs Gleinns repeat and re-allege the allegations contained in paragraphs 1–

 150 above, as if fully set forth herein.

         158.    As alleged above, EquiAlt and the EquiAlt sales agents breached their fiduciary

 duties to the Plaintiffs.

         159.    The Defendants substantially assisted or encouraged the wrongdoing that

 constituted the breach of fiduciary duty owed by the EquiAlt and its sales agents; further,

 Defendants had knowledge of such breach, because they actively participated in the making the

 sale by their actions or by stepping outside of their normal role as attorneys providing routine legal

 advice, under the totality of the events as more fully described in this complaint.

         160.    Defendants’ aiding and abetting the breach of fiduciary duty cannot be excused by

 a “see no evil, hear no evil” approach, as that would otherwise encourage attorneys to aid clients

 in fraud by willful blindness.

         161.    Defendants’ aiding and abetting the breach of fiduciary duty caused damages to the

 Plaintiffs in the amount of their lost investments, believed to be $170 million dollars, less interest

 payments.




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                                             COUNT III

                                          Civil Conspiracy
                          (Individually and on behalf of the Florida Class)

         162.    Plaintiffs Gleinn repeat and re-allege the allegations contained in paragraphs 1–150

 above, as if fully set forth herein.

         163.    EquiAlt and its sales agents, consistent with the brochures, told Plaintiffs that their

 investment was backed by real estate, was a safe or secure fixed income investment, and that

 EquiAlt had a successful track record. The sales agents also gave out EquiAlt brochures to

 investors. The sales agents also gave out EquiAlt brochures to investors which stated that investors

 could contact EquiAlt’s attorney and that it is “independent from EquiAlt LLC and can give you

 some insight into the fund and its activities.”

         164.    EquiAlt’s CEO entered into one or more agreements with Defendants to create

 various private placements to raise money for EquiAlt. That agreement included the drafting of

 indentures, finder fee contracts, subscription agreements and Private Placement Memoranda for

 each of the offerings.

         165.    Defendants engaged in unlawful acts with EquiAlt, namely, the misrepresentation

 of EquiAlt private placements as properly exempt under the securities laws, and the use of

 unlicensed sales agents, which Defendants knew were not allowed to sell private placements

 without a proper securities license with state and federal regulators.

         166.    The Defendants’ conspiracy substantially assisted or encouraged the wrongdoing

 that constituted the Ponzi scheme fraud conducted by EquiAlt and its unlicensed sales agents;

 further, Defendants had knowledge of such fraud, because they actively participated in the making

 the sale by their actions or by stepping outside of their normal role as attorneys providing routine

 legal advice, under the totality of the events as more fully described in this complaint.


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         167.    Defendants’ conspiracy with EquiAlt to evade the securities laws with respect to

 registration, exemption from registration and the use of unlicensed sales agents caused damages

 to the Plaintiffs.

         168.    Defendants conspiracy with EquiAlt to commit fraud cannot be excused by a “see

 no evil, hear no evil” approach, as that would otherwise encourage attorneys to aid clients in fraud

 by willful blindness. Plaintiffs allege that the Defendants had actual knowledge, which can be

 inferred from the totality of the circumstances of the events plead in this complaint. Plaintiffs lack

 access to the very discovery materials which would illuminate the Defendants’ state of mind. But

 participants in a fraud do not affirmatively declare to the world that they are engaged in the

 perpetration of a fraud. Intent to commit fraud is to be divined from surrounding circumstances,

 and in this case, the Plaintiffs plead that the Defendants stepped out of their normal role as

 attorneys and participated in the fraud, by participating in the creation of documents which contain

 clear misstatements and omit material facts that should have been disclosed to the Plaintiffs, and

 by other actions described in this complaint.

         169.    Defendants’ conspiracy with EquiAlt to commit fraud caused damages to the

 Plaintiffs in the amount of their lost investments, believed to be $170 million dollars, less interest

 payments.

                                  THE CALIFORNIA CLAIMS

                                             COUNT IV

                                      Violations of the CSL
                       (Individually and on behalf of the California Class)

         170.    Plaintiffs Murphy, Meier,       Greenberg, and Cobleigh repeat and re-allege the

 allegations contained in paragraphs 1–150 above, as if fully set forth herein.




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        171.    California Corp. Code § 25110 prohibits the offer or sale by any person in

 California of securities that are not qualified through registration. California Corp. Code § 25503

 affords a statutory cause of action to victimized investors for violations of Section 25110. Finally,

 California Corp. Code § 25504.1 extends liability under Section 25503 to any person who

 materially assists in a violation of Section 25110 and makes them jointly and severally liable with

 any other person liable under Section 25503.

        172.    EquiAlt with Defendants’ material assistance offered and sold the EquiAlt

 Securities in California without being properly registered or qualified for offer or sale either with

 any federal or California regulator.

        173.    Plaintiffs contend that secondary liability for materially assisting a strict liability

 violation of the qualification requirements of Section 25110 does not require proof that Defendants

 intended “to deceive or defraud.” However, Plaintiffs in the alternative contend that even if so,

 Defendants’ knowledge of and participation in EquiAlt’s non-compliance with the CSL establishes

 their intent to deceive investors regarding the purported exemption of the EquiAlt Securities from

 the qualification and licensing requirements of the CSL.

        174.    California Corp. Code § 25210(b) provides:

               No person shall, … on behalf of an issuer, effect any transaction in, or
        induce or attempt to induce the purchase or sale of, any security in this state unless
        [a licensed] broker-dealer and agent have complied with any rules as the
        commissioner may adopt for the qualification and employment of those agents.

        175.    Defendants breached Section 25210(b) by encouraging Lifeline and other broker-

 dealers and agents to offer and sell the EquiAlt Securities despite the fact that (a) such securities

 were not qualified under the CSL and (b) such broker-dealers and agents were not licensed under

 the CSL.




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        176.    California Corp. Code § 25501.5 affords a statutory cause of action to victimized

 investors for violations of Section 25210(b).

        177.    California Corp. Code § 25401 prohibits fraud in the offer or sale by any person in

 California of securities. California Corp. Code § 25501 affords a statutory cause of action to

 victimized investors for violations of Section 25401. Finally, California Corp. Code § 25504.1

 extends liability under Section 25503 to any person who materially assists in a violation of Section

 25401 with the intent to deceive or defraud, and makes them jointly and severally liable with any

 other person liable under Section 25503.

        178.    EquiAlt, with Defendants’ material assistance, offered and sold the EquiAlt

 Securities in California by means of any written or oral communication that includes an untrue

 statement of a material fact or omits to state a material fact necessary to make the statements made,

 in the light of the circumstances under which the statements were made, not misleading.

        179.    Defendants are accordingly joint and severally liable to Plaintiffs for rescissionary

 damages under Cal. Corp. Code. § 25504.1.

        180.    Plaintiffs hereby conditionally tender their EquiAlt Securities in accordance with

 Cal. Corp. Code § 25503.

                                             COUNT V

                         Aiding and Abetting Breach of Fiduciary Duty
                       (Individually and on behalf of the California Class)

        181.    Plaintiffs Murphy, Meier,        Greenberg and Cobleigh repeat and re-allege the

 allegations contained paragraphs 1–150 above, as if fully set forth herein.

        182.    Based on (a) their respective sales agent’s assumption of the role of a securities

 broker advising Plaintiffs about their retirement and investment decisions and (b) the confidential

 relationship the agent engendered in completing Plaintiffs’ applications, transmitting them and


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 Plaintiffs’ funds to EquiAlt for investment, those sales agents owed Plaintiffs fiduciary duties of

 loyalty and full disclosure, which were breached by their receipt of commissions in connection

 unlawful offer and sale to Plaintiffs of unqualified securities through unlicensed broker-dealers

 and sales agents.

        183.    Defendants had actual knowledge of the breaches of such fiduciary duties by the

 sales agent and the other unlicensed broker-dealers EquiAlt utilized to solicit investment in the

 EquiAlt Securities, rendered substantial assistance or encouragement to the breaches, and their

 conduct was a substantial factor in causing harm to Plaintiff.

        184.    Defendants acted with the specific intent to facilitate the wrongful conduct by

 EquiAlt and its broker-dealers and sales agents, particularly in connect with its efforts to deter

 regulatory investigations by the SEC and the State of Arizona.

        185.    Defendants are therefore liable for common law aiding and abetting the breach of

 fiduciary duties.

                                            COUNT VI

                            Aiding and Abetting Fraud and Deceit
                      (Individually and on behalf of the California Class)

        186.    Plaintiffs Murphy, Meier,      Greenberg and Cobleigh repeat and re-allege the

 allegations contained paragraphs 1–150 above, as if fully set forth herein.

        187.    The Non-Defendant Promoters made uniform false representations and concealed

 or failed to disclose material facts concerning the Funds’ compliance with the Federal and State

 securities laws, the safety and risks of the EquiAlt Securities and the financial performance and

 solvency of EquiAlt and the Funds, all with the intent to deceive prospective investors.

        188.    Plaintiffs and the members of the California Class justifiably relied on the foregoing

 false representations and material omissions, were unaware of the falsity of the representations or


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 the material omissions and would not have invested in the EquiAlt Securities had they known the

 true facts. As a consequence, Plaintiffs and the members of the California Class sustained damages.

        189.      Defendants had actual knowledge of some or all of the false statements and material

 omissions used to solicit investment in the EquiAlt Securities, rendered substantial assistance or

 encouragement to the fraudulent conduct, and their conduct was a substantial factor in causing

 harm to Plaintiffs and the members of the California Class.

        190.      Defendants acted with the specific intent to facilitate the foregoing wrongful

 conduct.

        191.      Defendants are therefore liable for common law aiding and abetting the fraud and

 deceit committed by the Non-Defendant Promotors.

        192.      The foregoing actions by Defendants were done maliciously, oppressively, and

 with intent to defraud, thereby entitling Plaintiffs and members of the California Class to punitive

 and exemplary damages.

                                             COUNT VII

                               Financial Abuse under the Elder Abuse Act
                          (Individually and on behalf of the California Subclass)

        193.      Plaintiffs Greenberg and Cobleigh repeat and re-allege the allegations contained

 paragraphs 1–150 above, as if fully set forth herein.

        194.      This cause of action is brought under California's Welfare and Institutions Code §

 15610, et seq.

        195.      As alleged above, Plaintiff Greenberg was 89 years or older at all times relevant to

 this claim. Plaintiff Cobleigh was 80 years old at the time of this claim.

        196.      California’s Elder Abuse Act, Cal. Welf. & Ins. Code § 15610.07, affords a cause

 of action to person over 65 years of age to recover for “financial abuse.”


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        197.     Financial abuse is in turn defined as follows:

        “Financial abuse” of an elder or dependent adult occurs when a person or entity
        does any of the following:

                 1. Takes, secretes, appropriates, obtains, or retains real or personal
                    property of an elder or dependent adult for a wrongful use or with
                    intent to defraud, or both.

                 2. Assists in taking, secreting, appropriating, obtaining, or retaining real
                    or personal property of an elder or dependent adult for a wrongful use
                    or with intent to defraud, or both.

                                                ***
 California Welf. & Ins. Code § 15610.30(a).

        198.     A person takes property “for a wrongful use” when he, she or it knew or should

 have known its conduct was likely to be harmful to the elder. Welf. & Ins. Code § 15610.30(b).

        199.     The sale of unregistered securities by unlicensed broker-dealers and agents is

 specifically prohibited in California, for the very reason that it is conduct likely to be harmful to

 the investor.

        200.     Through the sale to Plaintiffs Greenberg and Cobleigh of unqualified securities

 through unlicensed brokers and agents, Defendants engaged in conduct that took, appropriated,

 obtained and retained Plaintiffs Greenberg’s personal property ($50,000 in cash) and Plaintiff

 Cobleigh’s personal property ($520,000) for a wrongful use in violation of Section 15610.30(a)(1).

        201.     Alternatively, through their participation in the offer and sale to Plaintiffs

 Greenberg and Cobleigh of unqualified securities through unlicensed brokers and agents,

 Defendants at a minimum assisted in conduct that took, appropriated, obtained and retained

 Plaintiff Greenberg’s personal property ($50,000 in cash) and Plaintiff Cobleigh’s personal

 property ($520,000) for a wrongful use in violation of § 15610.30(a)(2).




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        202.    Defendants are accordingly liable to Plaintiff for “compensatory damages and all

 other remedies otherwise provided by law,” including reasonable attorney fees and costs. Welf. &

 Ins. Code § 15657.5(a).

                                            COUNT VIII

      Violation of Unfair Competition Law Business & Professions Code § 17200, et seq.
                     (Individually and on behalf of the California Class)

        203.    Plaintiffs Murphy, Meier,      Greenberg and Cobleigh repeat and re-allege the

 allegations contained paragraphs 1–150 above, as if fully set forth herein.

        204.    California’s Unfair Competition Law, Business & Professions Code §§ 17200 et

 seq. (the “UCL”) prohibits acts of unlawful and unfair competition, including any “unlawful,

 unfair or fraudulent business act or practice,” any “unfair, deceptive, untrue or misleading

 advertising” and any act prohibited by Business & Profession Code §17500.

        205.    Defendants have committed business acts and practices that violate the UCL by

 aiding and abetting the breaches of fiduciary duties, fraudulent and unfair conduct and unlawful

 conduct. Defendants’ conduct as alleged above constitutes unlawful competition in that, for the

 reasons set forth above, said acts and practices violate the Corporations Code.

        206.    The conduct of Defendants as alleged above also constitutes unfair competition in

 that, for the reasons set forth above, the acts and practices offend public policy and are unethical,

 oppressive, and unscrupulous, and are substantially injurious to the public.

        207.    Defendants’ conduct was a proximate cause of the injuries to Plaintiffs and the

 California Class alleged herein, and it caused and continues to cause substantial injury to Plaintiffs

 and the members of the California Class. By reason of the foregoing, Defendants should be

 required to pay restitution to Plaintiffs and members of the California Class.




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                                    THE ARIZONA CLAIMS
                                           COUNT IX
                                 Violation of A.R.S. § 44-1841
                        (Individually and on behalf of the Arizona Class)

        208.    Plaintiffs Rubinstein, Toone, and Celli, repeat and re-allege the allegations

 contained paragraphs 1–150 above, as if fully set forth herein.

        209.    The investments sold by the Non-Promotor Defendants were securities as defined

 by the Arizona Securities Act (“the ASA”).

        210.    The sale of non-exempt unregistered securities in Arizona is prohibited by A.R.S.

 § 44-1841.

        211.    Section 44–2001(A) creates a private cause of action for rescission or damages for

 violations of § 44–1841.

        212.    The ASA extends civil liability beyond the immediate parties to the sale, to all

 persons “who made, participated in or induced the unlawful sale or purchase.” A.R.S. § 44–

 2003(A).

        213.    Defendants “participated in or induced” the unlawful sale of unregistered EquiAlt

 Securities, by encouraging their offer and sale, among other things preparing the offering

 documents designed to unlawfully solicit purchasers of the unregistered EquiAlt Securities

 knowing they were not exempt from registration under the federal and State securities laws, and

 deterring state regulators from terminating the offering in Arizona.

        214.    Defendants are thus jointly and severally liable to Plaintiffs under A.R.S. § 44-

 2003(A), to the same extent as the Non-Promoter Defendants for the unlawful sale and violations

 of A.R.S. § 44-1841.




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        215.    Plaintiffs accordingly demand rescission with interest and attorneys’ fees as

 provided in A.R.S. § 44-2001(A).

        216.    Subject to the recovery of full relief, Plaintiffs tender to Defendants all

 consideration received in connection with the securities that Plaintiffs purchased and offer to do

 any other acts necessary for rescission under the common law or A.R.S. § 44-2001(A).

                                            COUNT X

                                  Violation of A.R.S. §44-1842
                        (Individually and on behalf of the Arizona Class)

        217.    Plaintiffs Rubinstein, Toone, and Celli, repeat and re-allege the allegations

 contained paragraphs 1–150 above, as if fully set forth herein.

        218.    The investments sold by the Non-Promotor Defendants were securities as defined

 by the ASA.

        219.    The sale of securities in Arizona by an unregistered dealer is prohibited by A.R.S.

 § 44-1842.

        220.    Section 44–2001(A) creates a private cause of action for rescission or damages for

 violations of § 44–1842.

        221.    The ASA extends civil liability beyond the immediate parties to the sale, to all

 persons “who made, participated in or induced the unlawful sale or purchase.” A.R.S. § 44–

 2003(A).

        222.    Defendants “participated in or induced” the unlawful sale of EquiAlt Securities by

 unregistered dealers, by encouraging such sales in Arizona, by among other things covering for

 the Non-Defendant Promoters’ use of the Non-Defendants sales agents to solicit purchasers of the

 EquiAlt Securities in Arizona.




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        223.     Defendants are thus jointly and severally liable to Plaintiffs under A.R.S. § 44-

 2003(A), to the same extent as the Non-Promoter Defendants for the unlawful sale and violations

 of A.R.S. § 44-1842.

        224.     Plaintiffs accordingly demand rescission with interest and attorneys’ fees as

 provided in A.R.S. § 44-2001(A).

        225.     Subject to the recovery of full relief, Plaintiffs tender to Defendants all

 consideration received in connection with the securities that Plaintiffs purchased and offer to do

 any other acts necessary for rescission under the common law or A.R.S. § 44-2001(A).

                                            COUNT XI

                                Violation of A.R.S. §§ 44-1991(A)
                        (Individually and on behalf of the Arizona Class)

        226.     Plaintiffs Rubinstein, Toone, and Celli, repeat and re-allege the allegations

 contained paragraphs 1–150 above, as if fully set forth herein.

        227.     The investments sold by the Non-Promotor Defendants were securities as defined

 by the ASA.

        228.     Under the ASA, it is unlawful to (1) “[e]mploy any device, scheme or artifice to

 defraud[;]” (2) “[m]ake any untrue statement of material fact, or omit to state any material act

 necessary in order to make the statements made, in the light of the circumstances under which they

 were made, not misleading[;]” or to (3) “[e]ngage in any transaction, practice or course of business

 which operates or would operate as a fraud or deceit.” A.R.S. § 44-1991(A).

        229.     Section 44–2001(A) creates a private cause of action for rescission or damages for

 violations of § 44–1991(A). The ASA extends civil liability beyond the immediate parties to the

 sale, to all persons “who made, participated in or induced the unlawful sale or purchase.” A.R.S.

 § 44–2003(A).


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        230.    The Non-Promoter Defendants conducted a massive Ponzi scheme raising more

 than $170 million from over 1,000 investors nationwide, many of them elderly, through the

 fraudulent sale of unregistered securities. The scheme was perpetuated through material

 misrepresentations and omissions concerning the Funds’ compliance with the federal and State

 securities laws, the safety and risks of the EquiAlt Securities, and the financial performance and

 solvency of EquiAlt and the Funds, all with the intent to deceive prospective investors, causing

 Plaintiffs’ damages. In particular, the Non-Defendant Promotors in the PPM made the following

 materially false misrepresentations and omissions, among others:

            a. Falsely stated that “[t]his Offering is being made pursuant to the private offering

                exemption of Section 4(2) of the [Securities] Act and/or Regulation D promulgated

                under the Act;”

            b. Falsely stated that “[t]his Offering is also being made in strict compliance with the

                applicable state securities laws;”

            c. Falsely stated that “[u]nder no circumstances will the Company admit more than

                thirty-five (35) non-accredited Investors as computed under Rule 501 of Regulation

                D promulgated under the [Securities] Act;”

            d. Falsely stated that “[t]he Company may utilize the services of one or more

                registered broker/dealers” to sell the unregistered EquiAlt Securities;

            e. Falsely overstated the percentage of investor funds that would be used to invest in

                properties;

            f. Misleadingly omitted to disclose that millions of dollars would be used to pay

                undisclosed fees and bonuses to EquiAlt and its principals;




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            g. Misleadingly omitted to disclose that EquiAlt would pocket “discount fees” rather

                 than passing on to the Funds purported savings from listed sale prices;

            h. Misleadingly omitted to disclose that monies would be transferred from one Fund

                 to another to pay interest due to investors and failed to adequately disclose that

                 commissions would be paid to unlicensed sales agents; and

            i.   Misleadingly omitted to disclose that Davison and Rybicki had both filed

                 bankruptcy proceedings during the years prior to the formation of EquiAlt.

        231.     Defendants “participated in or induced” the unlawful sale of EquiAlt Securities, by

 encouraging their offer and sale in Arizona, by among other things preparing the offering

 documents designed to unlawfully solicit purchasers of the unregistered EquiAlt Securities, by

 adding a patina of legitimacy to the otherwise unlawful operation, and by concealing the lack of

 any exemption to registration under either the federal or State securities laws, all of which enabled

 the scheme to unfold to the detriment of Plaintiffs and the Arizona Class.

        232.     Defendants acted with the specific intent to facilitate the Non-Defendant

 Promoters’ foregoing wrongful conduct, and knowingly or recklessly misrepresented or omitted

 facts regarding the need to register the securities that rendered their statements, representations,

 and documents materially false or misleading.

        233.     Defendants are thus jointly and severally liable to Plaintiffs within the meaning of

 A.R.S. § 44-2003(A), to the same extent as the Non-Promoter Defendants for the unlawful sale

 and violations of A.R.S. § 44-1991(A).

        234.     Plaintiffs accordingly demand rescission with interest and attorneys’ fees as

 provided in A.R.S. § 44-2001(A).




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        235.    Subject to the recovery of full relief, Plaintiffs tender to Defendants all

 consideration received in connection with the securities that Plaintiffs purchased and offer to do

 any other acts necessary for rescission under the common law or A.R.S. § 44-2001(A).

                                            COUNT XII

                                  Aiding and Abetting Fraud
                        (Individually and on behalf of the Arizona Class)

        236.    Plaintiffs Rubinstein, Toone, and Celli, repeat and re-allege the allegations

 contained paragraphs 1–150 above, as if fully set forth herein.

        237.    The Non-Defendant Promoters made uniform and materially false representations

 and concealed or failed to disclose material facts concerning the Funds’ compliance with the

 federal and State securities laws, the safety and risks of the EquiAlt Securities, the use of funds

 raised through the EquiAlt Securities, and the financial performance and solvency of EquiAlt and

 the Funds, all with the intent to deceive prospective investors, causing Plaintiffs’ damages.

        238.     In particular, the Non-Defendant Promotors in the PPM made the following

 materially false misrepresentations and omissions, among others:

            a. Falsely stated that “[t]his Offering is being made pursuant to the private offering

                exemption of Section 4(2) of the [Securities] Act and/or Regulation D promulgated

                under the Act;”

            b. Falsely stated that “[t]his Offering is also being made in strict compliance with the

                applicable state securities laws;”

            c. Falsely stated that “[u]nder no circumstances will the Company admit more than

                thirty-five (35) non-accredited Investors as computed under Rule 501 of Regulation

                D promulgated under the [Securities] Act;”




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            d. Falsely stated that “[t]he Company may utilize the services of one or more

                 registered broker/dealers” to sell the unregistered EquiAlt Securities;

            e. Falsely overstated the percentage of investor funds that would be used to invest in

                 properties;

            f. Misleadingly omitted to disclose that millions of dollars would be used to pay

                 undisclosed fees and bonuses to EquiAlt and its principals;

            g. Misleadingly omitted to disclose that EquiAlt would pocket “discount fees” rather

                 than passing on to the Funds purported savings from listed sale prices;

            h.   Misleadingly omitted to disclose that monies would be transferred from one Fund

                 to another to pay interest due to investors and failed to adequately disclose that

                 commissions would be paid to unlicensed sales agents; and

            i.   Misleadingly omitted to disclose that Davison and Rybicki had both filed

                 bankruptcy proceedings during the years prior to the formation of EquiAlt.

        239.     Defendants were for all times material hereto aware that the information being

 disseminated by the Non-Defendant Promoters was materially false.

        240.     Defendants nevertheless rendered substantial assistance and encouragement to the

 Non-Defendant Promoters’ fraudulent conduct, including but not limited to the drafting of the

 operative PPMs, Subscription Agreements, the EquiAlt Securities, and related organizational and

 operational agreements and other various regulatory filings, and their several corresponding acts

 to conceal, omit, and misrepresent material facts to cover up the illicit nature of the Ponzi scheme,

 all as alleged above with specificity.

        241.     Defendants thereby aided and abetting the fraud and deceit committed by the Non-

 Defendant Promotors.



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        242.     Defendants are accordingly jointly and severally liable to Plaintiffs for the

 fraudulent actions of the Non-Defendant Promoters.

                                               COUNT XIII

                         Aiding and Abetting Breach of Fiduciary Duty
                        (Individually and on behalf of the Arizona Class)

        243.     Plaintiffs Rubinstein, Toone, and Celli, repeat and re-allege the allegations

 contained paragraphs 1–150 above, as if fully set forth herein.

        244.     The Non-Defendant EquiAlt sales agents who solicited Plaintiffs’ investments

 owed fiduciary duties to Plaintiffs, which derived from their confidential and principal-agent

 relationship.

        245.     Given the unbalance of knowledge, Plaintiffs relied heavily upon the Non-

 Defendant EquiAlt sales agents’ representations and advice, and reposed significant trust in the

 Non-Defendant EquiAlt sales agents.

        246.     As alleged above, the Non-Defendant EquiAlt sales agents breached their duties to

 Plaintiffs, including through their receipt of undisclosed and illegal commissions in connection

 with the unlawful offer and sale to Plaintiffs of unregistered securities through unlicensed broker-

 dealers and sales agents, causing Plaintiffs damages.

        247.     Defendants had actual knowledge of the Non-Defendant EquiAlt sales agents’

 breaches of fiduciary duties.

        248.     Defendants rendered substantial assistance and encouragement to the Non-

 Defendant EquiAlt sales agents’ breaches and acted to conceal material facts attendant to those

 breaches, by encouraging them to offer and sell the EquiAlt Securities despite knowing of (a) the

 lack of registration under either federal or State law, and (b) the lack of any applicable exemption

 to registration under federal or State law.


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        249.    Defendants are accordingly jointly and severally liable to Plaintiffs for the breach

 of fiduciary duties by the Non-Defendant Promoters’ sales agents.

        250.    The Non-Defendant Promoters themselves owed fiduciary duties to Plaintiffs under

 Arizona law.

        251.    As alleged above, the Non-Defendant Promoters breached their fiduciary

 obligations to Plaintiffs, including the use through uniform and materially false representations

 and concealment of material facts concerning the Funds’ compliance with the Federal and State

 securities laws, the safety and risks of the EquiAlt Securities, and the financial performance and

 solvency of EquiAlt and the Funds, all with the intent to deceive prospective investors, causing

 Plaintiffs damages.

        252.    The Non-Defendant Promoters’ breaches of fiduciary duties caused Plaintiffs’

 damages.

        253.    Defendants had actual knowledge of the Non-Defendant Promoters’ breaches of

 fiduciary duties and knew the misrepresentations and omissions were materially misleading and

 would result in harm.

        254.    Defendants rendered substantial assistance and encouragement to the Non-

 Defendant Promoters’ breaches of fiduciary obligations, including but not limited to the drafting

 of the operative PPMs, Subscription Agreements, the EquiAlt Securities, and related operational

 agreements and regulatory filings, and their several corresponding acts to conceal, omit, and

 misrepresent material facts as set forth in those documents to cover up the illicit nature of the Ponzi

 scheme, all as alleged with specificity herein.

        255.    Defendants are accordingly jointly and severally liable to Plaintiffs for the breach

 of fiduciary duties by the Non-Defendant Promoters.



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                                     THE COLORADO CLAIMS

                                             COUNT XIV

                Statutory Aiding and Abetting Anti-Fraud Violations under the CSA
                         (Individually and on behalf of the Colorado Class)

         256.     Plaintiffs Hannen repeat and re-allege the allegations contained paragraphs 1–150

 above, as if fully set forth herein.

         257.     The EquiAlt Securities are securities within as defined by C.R.S. § 11-51-201.

         258.     C.R.S. § 11-51-501 (“Section 501”) prohibits fraud in the offer or sale of securities

 in Colorado. C.R.S. § 11-51-604 (“Section 604”) affords a statutory cause of action to victimized

 investors for violations of Section 501. Finally, C.R.S. § 11-51-604(5)(c) extends liability under

 Section 501 to “[a]ny person who knows that another person liable under subsection (3) or (4) of

 this section is engaged in conduct which constitutes a violation of [Section 501] and who gives

 substantial assistance to such conduct is jointly and severally liable to the same extent as such

 other person.”

         259.     The Non-Defendant Promoters sold the EquiAlt Securities by employing devices,

 schemes, and/or artifices to defraud; by making untrue statements of material facts and/or omitting

 to state material facts; and/or by engaging in acts, practices, and/or courses of business which

 operated as a fraud or deceit upon Plaintiffs and the other members of the Colorado Class, in

 violation of Section 501. Accordingly, Plaintiffs were the purchasers of a “security” in Colorado,

 the Non-Promoters acted in violation of Section 501with the requisite scienter in connection with

 the offer and sale of that security, and Plaintiffs relied upon their conduct to their detriment,

 causing the Plaintiffs’ injury.




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         260.    Defendants encouraged EquiAlt and its broker-dealers and agents to offer and sell

 the EquiAlt Securities in Colorado despite the fact that (a) such securities were not registered under

 the CSA and (b) such broker-dealers and agents were not licensed under the CSA.

         261.    Defendants knew that the Non-Defendant Promoters were engaged in conduct

 which constituted a violation of Section 501, and gave substantial assistance to such conduct, and

 are therefore jointly and severally liable to Plaintiff Hannen and the Colorado Class.

         262.    Respondeat superior is proper basis for liability under the CSA.

         263.    Defendants are liable to Plaintiffs and the other members of the Colorado Class

 under Section 604(3) and (4) for rescission or rescissionary damages.

         264.    Plaintiffs hereby conditionally tender their EquiAlt Securities in accordance with

 Section 604(6).

                                             COUNT XV

                   Aiding and Abetting Registration Violations under the CSA
                       (Individually and on behalf of the Colorado Class)

         265.    Plaintiffs Hannens repeat and re-allege the allegations contained paragraphs 1–150

 above, as if fully set forth herein.

         266.    C.R.S. § 11-51-301 (“Section 310”) prohibits the offer or sale by any person in

 Colorado of securities that are not registration in accordance with C.R.S. Art. 51. C.R.S. § 11-51-

 604 (“Section 604”) affords a statutory cause of action to victimized investors for violations of

 Section 301.

         267.    The EquiAlt Securities were required to be registered under Article 51 of Tile 11

 of the Colorado revised Statute, pursuant to Section 301.

         268.    Neither the EquiAlt Securities nor the transactions were exempted under any

 pertinent Colorado statute.


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         269.    The Non-Defendant Promoters with Defendants’ material assistance offered and

 sold the EquiAlt Securities in Colorado without being properly registered for offer or sale either

 with any federal or Colorado regulator.

         270.    Defendants breached Section 301 by encouraging broker-dealers and agents to offer

 and sell the EquiAlt Securities in Colorado despite the fact that (a) such securities were not

 registered under the CSA, and (b) such broker-dealers and agents were not licensed under the CSA.

         271.    Section 604 specifically provides that statutory liability under that rights and

 remedies provided by the CSA are in addition to any other rights or remedies that may exist at law

 or in equity.

         272.    Respondeat superior is a proper basis for claim under the CSA.

         273.    Defendants are accordingly joint and severally liable to Plaintiffs and the other

 members of the Colorado Class for rescission or rescissionary damages.

         274.    Plaintiffs hereby conditionally tender their EquiAlt Securities in accordance with

 Section 604(6).

                                             COUNT XVI

                           Aiding and Abetting Breach of Fiduciary Duty
                         (Individually and on behalf of the Colorado Class)

         275.    Plaintiffs Hannen repeat and re-allege the allegations contained paragraphs 1–150

 above, as if fully set forth herein.

         276.      As alleged above, based on (a) their respective sales agent’s assumption of the role

 of a securities broker advising Plaintiffs about their retirement and investment decisions and (b)

 the confidential relationship the agent engendered in completing Plaintiffs’ applications,

 transmitting them and Plaintiffs’ funds to EquiAlt for investment, those sales agents owed

 Plaintiffs fiduciary duties, which were breached as alleged above, including by their receipt of


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 commissions in connection unlawful offer and sale to Plaintiffs of unqualified securities through

 unlicensed broker-dealers and sales agents.

         277.    Defendants had actual knowledge of the breaches of such fiduciary duties by the

 sales agent and the other unlicensed broker-dealers EquiAlt utilized to solicit investment in the

 EquiAlt Securities, rendered substantial assistance or encouragement to the breaches, and their

 conduct was a substantial factor in causing harm to Plaintiff.

         278.    Defendants acted with the specific intent to facilitate the wrongful conduct by

 EquiAlt and its broker-dealers and sales agents, particularly in connect with its efforts to deter

 regulatory investigations by the SEC and the State of Arizona.

         279.    Defendants are therefore liable for common law aiding and abetting the breach of

 fiduciary duties.

                                           COUNT XVII

                               Aiding and Abetting Fraud and Deceit
                         (Individually and on behalf of the Colorado Class)

         280.    Plaintiffs Hannen repeat and re-allege the allegations paragraphs 1–150 above, as

 if fully set forth herein.

         281.    The Non-Defendant Promoters made uniform false representations and concealed

 or failed to disclose material facts concerning the Funds’ compliance with the Federal and State

 securities laws, the safety and risks of the EquiAlt Securities and the financial performance and

 solvency of EquiAlt and the Funds, all with the intent to deceive prospective investors.

         282.    Plaintiffs and the members of the Colorado Class justifiably relied on the foregoing

 false representations and material omissions, were unaware of the falsity of the representations or

 the material omissions and would not have invested in the EquiAlt Securities had they known the

 true facts. As a consequence, Plaintiffs and the members of the Colorado Class sustained damages.


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         283.    Defendants had actual knowledge of some or all of the false statements and material

 omissions used to solicit investment in the EquiAlt Securities, rendered substantial assistance or

 encouragement to the fraudulent conduct, and their conduct was a substantial factor in causing

 harm to Plaintiffs and the members of the Colorado Class.

         284.    Defendants acted with the specific intent to facilitate the foregoing wrongful

 conduct.

         285.    Defendants are therefore liable for common law aiding and abetting the fraud and

 deceit committed by the Non-Defendant Promotors.

         286.    The foregoing actions by Defendants were done maliciously, oppressively, and

 with intent to defraud, thereby entitling Plaintiffs and members of the Colorado Class to punitive

 and exemplary damages.

                                          COUNT XVIII

                       Aiding and Abetting Intentional Misrepresentation
                       (Individually and on behalf of the Colorado Class)

         287.    Plaintiffs Hannen repeat and re-allege the allegations contained paragraphs 1–150

 above, as if fully set forth herein.

         288.    The Non-Defendant Promoters made uniform false representations and concealed

 or failed to disclose material facts concerning the Funds’ compliance with the Federal and State

 securities laws, the safety and risks of the EquiAlt Securities and the financial performance and

 solvency of EquiAlt and the Funds.

         289.    The Non-Defendant Promotors knew the statements were false when made or were

 made recklessly and without regard to their truth, and intended that Plaintiffs and the members of

 the Colorado Class would rely on the representations.




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        290.    Plaintiffs and the members of the Colorado Class justifiably relied on the false

 statements and sustained damages as a result.

        291.    Defendants had actual knowledge of some or all of the false statements and material

 omissions used to solicit investment in the EquiAlt Securities, rendered substantial assistance or

 encouragement to the fraudulent conduct, and their conduct was a substantial factor in causing

 harm to Plaintiffs and the members of the Colorado Class.

        292.    Defendants are therefore liable for common law aiding and abetting the intentional

 misrepresentations by the Non-Defendant Promotors.

        293.    The foregoing actions by Defendants were done maliciously, oppressively, and

 with intent to defraud, thereby entitling Plaintiffs and members of the Colorado Class to punitive

 and exemplary damages.

                                     THE NEVADA CLAIMS

                                            COUNT XIX

                (Statutory Secondary Liability under the Nevada Securities Act,
                        individually and on behalf of the Nevada Class)

        294.    Plaintiffs Rory and Marcia O’Neal and Sean O’Neal repeat and re-allege the

 allegations contained in paragraphs 1-150 as if fully set forth herein.

        295.    The EquiAlt Securities are securities as defined by NRS 90.295.

        296.    NRS 90.310 (“Section 301”) prohibits any person from transacting business in

 Nevada as a broker-dealer or sales representative unless licensed or exempt from licensing under

 the Nevada Securities Act (“NSA”).

        297.    NRS 90.460 (“Section 460”) prohibits any person from offering to sell or selling

 any security in Nevada unless the security is registered or the security or transaction is exempt

 under the NSA.


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        298.    NRS 90.570 (“Section 570”) prohibits any person from, in connection with the

 offer to sell, sale, offer to purchase or purchase of a security in Nevada, directly or indirectly (1)

 employing any device, scheme or artifice to defraud; (2) making an untrue statement of a material

 fact or omit to state a material fact necessary in order to make the statements made not misleading

 in the light of the circumstances under which they are made; or (3) engaging in an act, practice or

 course of business which operates or would operate as a fraud or deceit upon a person.

        299.    NRS 90.660 (“Section 660”) affords a statutory cause of action to victimized

 investors for violations of Sections 301, 460 and 570. In addition, Section 660(4) extends joint

 and several liability under Section 660 to “any agent of the person liable.”

        300.    As alleged above, the Non-Defendant Promoters sold the EquiAlt Securities in

 violation of Sections 301, 460 and 570.

        301.    As a consequence of the forgoing statutory violations, Plaintiffs and the other

 members of the Nevada Class have suffered damages in an amount to be proven at trial, including

 the loss of money invested in the EquiAlt securities.

        302.    Defendants acted as the agent of the Non-Defendant Promoters in connection with

 the foregoing violations of the NSA, by among other things, drafting the PPMs and other offering

 materials containing the false statements and misrepresentations used to solicit sales of the

 unregistered EquiAlt Securities, receiving signed investor questionnaires on behalf of EquiAlt,

 authorizing EquiAlt to identify Defendants as “independent” legal counsel who would provide

 “insight into the fund and its activities” upon request from investors, drafting submissions to the

 SEC falsely claiming that the EquiAlt Securities were exempt from registration, authorizing the

 use of their names on brochures that were used to promote and make sales of Equialt Securities,

 preparing organizational and transactional documents used in furtherance of the EquiAlt Ponzi



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 scheme, formulating and drafting “Consulting Agreements” falsely characterizing agent

 commissions as “finder’s fees” to circumvent the securities laws, advising non-client unlicensed

 sales agents that they could lawfully sell the unregistered EquiAlt securities and responding to

 inquiries from the unlicensed sales agents concerning purported compliance with the applicable

 securities laws and encouraging the EquiAlt managers to invoke their names and professional

 standing to deflect inquiries by sales agents or investors about regulatory investigations of EquiAlt.

 . Through these acts, among others, Defendants intentionally stepped outside their normal role as

 attorneys providing routine legal advice and instead acted as the agent of the Non-Defendant

 Promoters.

        303.    Defendants are accordingly liable to Plaintiffs and the other members of the Nevada

 Class under Section 660 for rescission or rescissionary damages.

        304.    Plaintiffs hereby conditionally tender their EquiAlt Securities in accordance with

 the NSA.

                                             COUNT XX

                         (Aiding and Abetting Breach of Fiduciary Duty,
                         individually and on behalf of the Nevada Class)

        305.    Plaintiffs Rory and Marcia O’Neal and Sean O’Neal repeat and re-allege the

 allegations contained in the paragraphs 1-150 as if fully set forth herein.

        306.    NRS 90.575 provides: “A broker-dealer, sales representative, investment adviser or

 representative of an investment adviser shall not violate the fiduciary duty toward a client imposed

 by NRS 628A.020.” NRS 628A.020 in turn provides:

        A financial planner has the duty of a fiduciary toward a client. A financial planner
        shall disclose to a client, at the time advice is given, any gain the financial planner
        may receive, such as profit or commission, if the advice is followed. A financial
        planner shall make diligent inquiry of each client to ascertain initially, and keep
        currently informed concerning, the client's financial circumstances and obligations
        and the client's present and anticipated obligations to and goals for his or her family.

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        307.    The Non-Defendant Promoters and their sales agents in addition owed Plaintiffs

 and the other members of the Nevada Class fiduciary duties of loyalty and full disclosure, based

 on (a) their respective sales agent’s assumption of the role of a securities broker and financial

 planner advising Plaintiffs about their retirement and investment decisions and (b) the confidential

 relationship the agent engendered in completing Plaintiffs’ applications, transmitting them and

 Plaintiffs’ funds to EquiAlt for investment. These fiduciary duties which were breached by, among

 other things, the payment and receipt of undisclosed commissions in connection unlawful offer

 and sale to Plaintiffs of unregistered securities through unlicensed broker-dealers and sales agents,

 the failure to exercise due diligence to confirm the representations in the EquiAlt sales solicitation

 materials or to investigate or evaluate EquiAlt’s financial condition and purported business

 operations, the failure to independently evaluate or confirm EquiAlt’s compliance with the

 securities laws or the need for the unlicensed broker-dealers and sales agents to procure required

 licensures and the other actions and inactions alleged above. .

        308.    As a consequence of the forgoing breaches of fiduciary duty, Plaintiffs and the other

 members of the Nevada Class have suffered damages in an amount to be proven at trial, including

 the loss of money invested in the EquiAlt securities.

        309.    Under Nevada law, “liability attaches for civil aiding and abetting if the defendant

 substantially assists or encourages another's conduct in breaching a duty to a third person.” Dow

 Chem. Co. v. Mahlum, 970 P.2d 98, 112 (Nev. 1998), overruled in part on other grounds by GES,

 Inc. v. Corbitt, 21 P.3d 11, 15 (Nev. 2001).

        310.    The Defendants were aware at the time of their role in promoting the foregoing

 alleged primary breach of fiduciary duties by the Non-Defendant Promoters and their sales agents,

 and knowingly and substantially assisted the Non-Defendant Promoters and their sales agents in


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 committing the primary breaches through direct communications with them and with their sales

 agents.

           311.   Defendants acted with the specific intent to facilitate the wrongful conduct by

 EquiAlt and its sales agents, particularly in connect with its efforts to deter regulatory

 investigations by the SEC and the State of Arizona.

           312.   Defendants are therefore liable for common law aiding and abetting the breach of

 fiduciary duties.

                                            COUNT XXI
                      (Aiding and Abetting Fraud/Fraudulent Concealment,
                         Individually and on behalf of the Nevada Class)

           313.   Plaintiffs Rory and Marcia O’Neal and Sean O’Neal repeat and re-allege the

 allegations contained in the paragraphs 1-150 as if fully set forth herein.

           314.   The Non-Defendant Promoters knowingly made uniform false representations and

 concealed or failed to disclose material facts concerning the Funds’ compliance with the Federal

 and State securities laws, the safety and risks of the EquiAlt Securities and the financial

 performance and solvency of EquiAlt and the Funds, all with the intent to induce Plaintiff and the

 other members of the Nevada Class to act or to refrain from acting in reliance upon the

 misrepresentation and omission.

           315.   Plaintiffs and the members of the Nevada Class justifiably relied on the foregoing

 false representations and material omissions, were unaware of the falsity of the representations or

 the material omissions and would not have invested in the EquiAlt Securities had they known the

 true facts.




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           316.   As a consequence of the forgoing acts of fraud and fraudulent omission, Plaintiffs

 and the other members of the Nevada Class have suffered damages in an amount to be proven at

 trial, including the loss of money invested in the EquiAlt securities.

           317.   Under Nevada law, “liability attaches for civil aiding and abetting if the defendant

 substantially assists or encourages another's conduct in breaching a duty to a third person.” Dow

 Chem. Co. v. Mahlum, 970 P.2d 98, 112 (Nev. 1998), overruled in part on other grounds by GES,

 Inc. v. Corbitt, 21 P.3d 11, 15 (Nev. 2001).

           318.   The Defendants were aware at the time of their role in promoting the foregoing

 alleged primary fraudulent conduct by the Non-Defendant Promoters and their sales agents, and

 knowingly and substantially assisted the Non-Defendant Promoters and their sales agents in

 committing the primary fraud through direct communications with them and with their sales

 agents.

           319.   Defendants acted with the specific intent to facilitate the foregoing wrongful

 conduct.

           320.   Defendants are therefore liable for common law aiding and abetting the fraud and

 deceit committed by the Non-Defendant Promotors.

                                            COUNT XXII
                    (Violation of the Nevada Trade Practices Act, N.R.S. 41.600
                          Individually and on behalf of the Nevada Class)

           321.   Plaintiffs Rory and Marcia O’Neal and Sean O’Neal repeat and re-allege the

 allegations contained in the paragraphs 1-150 as if fully set forth herein.

           322.   NRS 41.600 (“Section 600”) provides a statutory cause of action by “any person

 who is a victim of consumer fraud,” which is in turn defined to include any deceptive trade practice

 as defined in NRS 598.092 (“Section 092”). Holmquist v. Exotic Cars at Caesars Palace, LLC,



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 No.: 2:07–cv–00298–RLH–GWF, 2009 WL 10692730 (D. Nev. Jan. 13, 2009) (finding plaintiffs

 stated claim for deceptive trade practices under Section 092 regarding the sale of securities).

        323.    Section 092(8) provides that “[a] person engages in a ‘deceptive trade practice’

 when in the course of his or her business or occupation he or she … [k]nowingly misrepresents

 the legal rights, obligations or remedies of a party to a transaction.”

        324.       As alleged above, Defendants knowingly misrepresented “the legal rights” and

 “remedies” to Plaintiffs when through their drafting of the PPM and their representations made to

 the sales agents that the EquiAlt Securities were exempt from registration under Federal and State

 securities laws and could be sold by unlicensed broker-dealers and sales representatives.

        325.     As a consequence of the forgoing deceptive trade practices, Plaintiffs and the other

 members of the Nevada Class have suffered damages in an amount to be proven at trial, including

 the loss of money invested in the EquiAlt securities.


                                               COUNT XXIII
          (Aiding and Abetting Violation of Nevada Trade Practices Act, NRS 41.600
                       Individually and on behalf of the Nevada Class)

        326.    Plaintiffs Rory and Marcia O’Neal and Sean O’Neal repeat and re-allege the

 allegations contained in the paragraphs 1-150 as if fully set forth herein.

        327.    Under NRS 41.600 (“Section 600”) a statutory cause of action may be brought by

 “any person who is a victim of consumer fraud,” which is in turn defined to include any deceptive

 trade practice as defined in NRS 598.092 (“Section 092”).

        328.    Section 092(5) provides that “[a] person engages in a ‘deceptive trade practice’

 when in the course of his or her business or occupation he or she … [a]dvertises or offers an

 opportunity for investment” and:




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                 (a) Represents that the investment is guaranteed, secured or protected in a manner

                 which he or she knows or has reason to know is false or misleading;

                 (b) Represents that the investment will earn a rate of return which he or she knows

                 or has reason to know is false or misleading;

                 (c) Makes any untrue statement of a material fact or omits to state a material fact

                 which is necessary to make another statement, considering the circumstances under

                 which it is made, not misleading;

                 (d) Fails to maintain adequate records so that an investor may determine how his

                 or her money is invested;

                 (e) Fails to provide information to an investor after a reasonable request for

                 information concerning his or her investment;

                 (f) Fails to comply with any law or regulation for the marketing of securities or

                 other investments; or

                 (g) Represents that he or she is licensed by an agency of the State to sell or offer

                 for sale investments or services for investments if he or she is not so licensed.

          329.   As alleged above, the Non-Defendant Promoters and their sales agents engaged in

 each of these “deceptive trade practices” with respect to the offer and sale of the EquiAlt Securities

 in Nevada, breaching a statutory duty that injured Plaintiffs and the other members of the Nevada

 Class.

          330.   As a consequence of the forgoing deceptive trade practices, Plaintiffs and the other

 members of the Nevada Class have suffered damages in an amount to be proven at trial, including

 the loss of money invested in the EquiAlt securities




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        331.    Under Nevada law, “liability attaches for civil aiding and abetting if the defendant

 substantially assists or encourages another's conduct in breaching a duty to a third person.” Dow

 Chem. Co. v. Mahlum, 970 P.2d 98, 112 (Nev. 1998), overruled in part on other grounds by GES,

 Inc. v. Corbitt, 21 P.3d 11, 15 (Nev. 2001).

        332.    The Defendants were aware at the time of their role in promoting the foregoing

 alleged primary violations by the Non-Defendant Promoters and their sales agents, and knowingly

 and substantially assisted the Non-Defendant Promoters and their sales agents in committing the

 primary violations through direct communications with them and with their sales agents.

        333.    Defendants’ conduct was a substantial factor in causing harm to Plaintiffs and the

 members of the Nevada Class.

        334.    Defendants are therefore liable for common law aiding and abetting the statutory

 deceptive trade practices of the Non-Defendant Promotors.

                                                PRAYER

        Based on the foregoing, Plaintiffs request the Court enter a judgment:

        A.      certifying the Classes;

        B.      awarding such declaratory, injunctive and other equitable relief as warranted under

 the claims asserted;

        C.      awarding compensatory damages and punitive damages to Plaintiffs and the

 Classes, in an amount to be determined at trial;

        D.      awarding Plaintiffs and the Classes the costs of this action, including reasonable

 attorneys’ fees and expenses, including pursuant to the Elder Abuse Act; and

        E.      awarding such further relief as may be just and proper.




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       RESPECTFULLY SUBMITTED this 3rd day of August, 2020.


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